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                                    2023–2007
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UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                       _________________________________

    MICRON TECHNOLOGY INC., MICRON SEMICONDUCTOR PRODUCTS, INC.,
           MICRON TECHNOLOGY TEXAS, LLC, STATE OF IDAHO,
                                                      Plaintiffs-Appellees
                                          v.
                               LONGHORN IP LLC,
                                                     Defendant-Appellant
                       _________________________________

        Appeal from the United States District Court for the District of Idaho
                    in No. 1:22-cv-00273, Judge David C. Nye
                          ______________________________

                              M OTION TO D ISMISS
                          ______________________________

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July 14, 2023
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                            CERTIFICATE OF INTEREST

       I certify that the information below is complete to the best of my knowledge.

Date: July 14, 2023                    Signature:   /s/Amanda Tessar
                                       Name:        Amanda Tessar


1. Represented Entity        2. Real Party in Interest 3. Parent Corporations
                                                       and 10% Stockholders
Micron Technology, Inc.      n/a                          n/a
Micron Semiconductor
                             n/a                          Micron Technology, Inc.
Products, Inc.
Micron Technology
                             n/a                          Micron Technology, Inc.
Texas, LLC


4. Other Legal Representatives
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5. Related Cases

Katana Silicon Technologies LLC v. Micron Technology, Inc., No. 23-2095 (Fed.
Cir.); Katana Silicon Technologies LLC v. Micron Technology, Inc.,
No. 1:22-cv-00282-DCN (D. Idaho).



6. Organizational Victims and Bankruptcy Cases

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IPR                        inter partes review

Micron                     plaintiff-appellees Micron Technology, Inc., Micron
                           Semiconductor Products, Inc., and Micron Technology
                           Texas, LLC

Katana                     Katana Silicon Technologies LLC

Longhorn                   defendant-appellant Longhorn IP LLC

Stay Motion                motion of Longhorn/Katana to stay district court
                           proceedings (Katana Silicon Techs. LLC v. Micron Tech.,
                           Inc., No. 22-cv-00282-DCN (D. Idaho June 30, 2023),
                           ECF No. 69-1)

§                          unless otherwise specified, all uses of “§” refer to
                           sections of U.S.C. Title 28




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                                  INTRODUCTION

      This is a premature appeal. Longhorn and Katana purport to appeal from an

Order by the district court requiring one of them to post a bond before Katana can

proceed with its infringement suit against Micron. Longhorn is a serial plaintiff with

a long history of using shell holding companies like Katana to bring baseless patent

infringement claims. The district court imposed the bond under state law because it

found a reasonable likelihood that Longhorn/Katana brought the infringement

claims in bad faith.

      Longhorn/Katana filed this appeal prematurely because the district court’s

Bond Order is not a final judgment and does not otherwise fit within this Court’s

limited appellate jurisdiction applicable to interlocutory orders. Orders granting se-

curity during litigation are typically not appealable. Nor are stays or discretionary

case-management decisions setting the order in which issues will be litigated. The

district court’s Bond Order extends no further. The district court has issued no final

judgment nor granted any injunctive relief. The underlying infringement case re-

mains pending—the district court has not dismissed or entered judgment, and Katana

has not asked it to do so. In fact, Katana has moved to stay the infringement case in

view of separate IPR proceedings (and for the pendency of this appeal), undercutting

any claim of urgency from Longhorn or Katana in pursuing their infringement case.




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      Longhorn and Katana will have their chance to argue the merits of the Bond

Order and the district court’s application of state law when the correct time comes

for a viable appeal. But now is not the time for those arguments, which must await

a final judgment from the district court before becoming ripe for appeal. Longhorn

and Katana have simply jumped the gun before proceeding to any final, appealable

ruling from the district court. The Court should dismiss their premature appeals.1

                                  BACKGROUND

I.    Longhorn/Katana Sued Micron Yet Again

      Micron is an American success story. In less than twenty years, it grew from

a four-person company in a Boise basement to a Fortune 500 leader in computer

memory. Add32. It spends billions of dollars each year on research and develop-

ment. Add32. It employs more than 45,000 people and has obtained more than

53,000 patents. Its technology is ubiquitous. Add32. Despite its global reach, Mi-

cron maintains its Boise roots—it remains headquartered in Idaho and employs thou-

sands in the Gem State. Add32.

      Micron’s success makes it a target. Enter Katana and Longhorn. Longhorn is

a serial plaintiff. It makes no goods. It performs no technological services. Head-

quartered in Texas, it does nothing but collect and assert patents. Add2; Add138.



1
  Micron conferred with the other parties regarding this motion. The State of Idaho
does not oppose Micron’s motion to dismiss. Longhorn opposes.

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      Longhorn paints itself as an adviser to “clients.” Add138; Add755. But that

is a caricature of what it really does. Longhorn is a puppeteer, not a practitioner.

Mr. Khaled Fekih-Romdhane is its puppet master and the sole person who dictates

its mission, business model, and execution priorities. Add153-154. Longhorn forms

holding companies like Katana (calling them “clients”) that are also controlled by

Mr. Fekih-Romdhane and typically headquartered at his home address. Add42-43.

The holding companies buy low-value patents in their own names, while Longhorn

publicly touts those patent portfolios as its own. See Add692. Longhorn then has

its holding companies sue—usually in venues far from its targets’ home districts.

See, e.g., Add3, Add240. Longhorn’s litigation strategy relies on nuisance, not sub-

stance. Defendants like Micron soon realize that any merits victory would be pyr-

rhic: not only would the defendant spend more money defending the case than the

holding company demanded, but Longhorn’s shell game also effectively nullifies the

fee-shifting provisions that ordinarily would discourage baseless litigation. The

holding company, after all, can just fold and let Longhorn off scot-free.

      Longhorn has targeted Micron before. In 2016, another of its shell companies,

Lone Star Silicon Innovations LLC, sued Micron in the Eastern District of Texas.

Add240. After transfer to the Northern District of California, the district court crit-

icized Lone Star for engaging in a “litigation gimmick” to conceal a third party’s

retained ownership interest in the patents Lone Star asserted. Add310, Add320; In



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re Lone Star Silicon Innovations LLC, No. 17-cv-03980, 2018 WL 500258, at *1, *6

(N.D. Cal. Jan. 20, 2018).2 Micron fought back on the merits and eventually suc-

ceeded in IPRs against every one of the seven asserted patents, but it cost millions

to get there. Add45, Add57. Longhorn/Lone Star then threatened to drive costs still

higher through a series of appeals before offering a tiny settlement that made it ut-

terly impractical for Micron to keep litigating. Add32-33. Micron thought that

meant Longhorn would not target Micron with another meritless suit.

      But that was not to be. Another of Longhorn’s shell companies, Katana,3 soon

began to pepper Micron with less than clear assertions, unsubtle threats, and much

too tall demands. First, Longhorn/Katana sent a letter in August 2018 demanding

that Micron license the Katana portfolio and telling Micron that Longhorn/Katana

had sued others. Add33; Add597. They proffered no infringement theory. Add33;




2
   Lone Star sued alone, claiming to be the sole patent owner, but it withheld its
assignment documents for “nearly a year after filing suit.” Lone Star Silicon Inno-
vations LLC v. Nanya Tech. Corp., 925 F.3d 1225, 1228 (Fed. Cir. 2019). Once
produced, those documents showed an agreement crafted to “shield [Lone Star’s as-
signor] from counterclaims” while sharing the rights to benefit from litigation. In re
Lone Star, 2018 WL 500258, at *1. The district court dismissed for lack of standing
and refused to allow joinder, citing prejudice from Lone Star’s “litigation gimmick”
that delayed discovery into its insufficient ownership rights. Id. at *6. This Court
vacated not because it disagreed as to Lone Star’s conduct or the resulting prejudice,
but because Rule 19 joinder is mandatory and overrides such discretionary consid-
erations. Lone Star, 925 F.3d at 1238.
3
   A “katana” is a kind of sword. It is thin and has one sharp edge. While a katana
can cut, it also tends to bend or break when struck.

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Add597-598. A month later, they sent another letter, again bereft of explanation.

Add33. The second letter cited a different set of patents than the first. Add33;

Add652-653. A month after that, Longhorn/Katana requested a meeting—again, not

yet having explained how they thought Micron might infringe. Add33; Add692.

Micron agreed, and Mr. Fekih-Romdhane traveled to Boise in November 2018.

Add33. Longhorn/Katana finally sent claim charts shortly before that meeting.

Add33-34. Those claim charts made clear that Longhorn/Katana’s position was

baseless. Micron brought its technical team to the meeting to explain some of the

many reasons why Micron did not infringe and why Katana’s patents were invalid.

Add34; Add696-697. Longhorn/Katana never plausibly rebutted Micron’s points

nor addressed the many other substantive deficiencies with their infringement alle-

gations.

      After a few more rounds of correspondence in 2019 and 2020, Longhorn/Kat-

ana went quiet. Add34. In the meantime, Longhorn made passing threats about the

patent portfolios of a few of its other aggressively named shell companies (“Car-

thage,” “Hamilcar,” and “Trenchant Blade”). Add34.

      In March 2022, Katana sued Micron in the Western District of Texas, asserting

three patents: United States Patent Nos. RE38,806, 6,352,879, and 6,731,013. Add3.

The ’806 and ’879 patents had expired in 2018, and the ’013 patent in 2021. Add3.

The dispute’s center of gravity was Boise, and so the Texas court transferred to the



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District of Idaho. Add3. Longhorn/Katana initially opposed transfer—making Mi-

cron spend money on motion practice and briefing—before summarily dropping

their opposition when it came time to prepare and file their own responsive brief.

Add703-704. This made sense, as the Western District of Texas lacked jurisdiction

over this suit from the beginning.

II.   Micron Responded With IPRs, A Bad Faith Patent Assertion Claim, And
      A Bond Motion

      Faced (again) with a Longhorn entity’s nuisance suit, Micron took steps to

protect itself. Specifically, Micron asserted Idaho state-law claims for bad faith pa-

tent assertion against both Katana4 and Longhorn.5 Add3-4; see Idaho Code § 48-

1706. Micron also filed IPR petitions against Katana/Longhorn’s asserted patents.

See Micron Tech., Inc. v. Katana Silicon Techs. LLC, Nos. IPR2023-00071, -00072

(PTAB) (’806 patent); Micron Tech., Inc. v. Katana Silicon Techs. LLC, No.

IPR2023-00073 (PTAB) (’879 patent); Micron Tech., Inc. v. Katana Silicon Techs.

LLC, No. IPR2023-00105 (PTAB) (’013 patent). The Board instituted the first three




4
   Micron raised its bad faith patent assertion claim against Katana as a counter-
claim in Katana’s infringement suit. Katana Silicon Techs. LLC v. Micron Tech.,
Inc., No. 1:22-cv-00282 (D. Idaho, June 6, 2022), ECF No. 13 (Micron’s Answer).
5
    Micron brought its claim against Longhorn as a new affirmative suit in Idaho
state court, which Longhorn later removed to federal court. Micron Tech., Inc. v.
Longhorn IP LLC, No. 1:22-cv-00273 (D. Idaho July 5, 2022), ECF No. 1 (Long-
horn’s Notice of Removal).

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IPRs in this past May. The Board later denied institution as to the ’013 patent—after

Micron’s notice of appeal here—but the other three proceedings continue.6

      Micron also sought a protective bond in the district court, as permitted by the

same Idaho legislation that established a cause of action against bad faith patent as-

sertion. Idaho Code § 48-1707. Micron did so with good reason, as it knew that

Longhorn’s litigation model could otherwise render toothless the available mecha-

nisms for financial accountability. For example, Micron could pursue fees and costs

if the court deemed Katana/Longhorn’s infringement claims exceptional at the end

of the case. See, e.g., 35 U.S.C. § 285; Fed. R. Civ. P. 11. Micron could also seek

damages under state law. Idaho Code §§ 48-1703(1), 48-1706. But Longhorn struc-

tures its whack-a-mole shell subsidiaries such that post-hoc attorney-fee orders or

monetary sanctions will never take effect. Add2. After all, if one undercapitalized

subsidiary gets hit with a judgment, Longhorn can simply leave it for dead and hop

to another.

      So Micron sought a bond under a state law requiring plaintiffs credibly ac-

cused of bad faith patent assertion to post an amount corresponding to the estimated

liability that would follow from an ultimate finding of bad faith. See Idaho Code

§ 48-1707. That should have been uncontroversial. If the district court ultimately



6
   Micron intends to request rehearing of the decision denying institution on
the ’013 patent. That request has been filed and is pending.

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finds that Katana/Longhorn did not assert their patents in bad faith, or they success-

fully challenge that statutory framework, they get the bond back. And if their case

is held to be in bad faith, the bond simply ensures they pay what they owe. The

bond, effectively, acts as a surety against any eventual fee award entered in conse-

quence of bad faith litigation and would be a credit against that award. Katana/Long-

horn’s only basis to object would be a desire to dodge their legal obligations. That

is not a legitimate reason.

III.   The District Court Ordered Longhorn Or Katana To Post A Bond

       Katana and Longhorn moved to dismiss Micron’s state law claim alleging bad

faith patent assertion and opposed Micron’s request for a bond. Add3-4.

       The district court denied Katana/Longhorn’s motions to dismiss. The court

analyzed and rejected arguments that the Idaho law was preempted, Add6-19, that

Micron’s claim fell outside the statute of limitations, Add19-21, and that Micron had

not plausibly pled a bad faith patent assertion. Add21-26. Katana/Longhorn do not

appeal the denial of their motions to dismiss—nor could they do so now. The merits

of Micron’s complaint are subject to judicial review later, but only after this case

reaches a final judgment.

       Turning to Micron’s bond request, the district court concluded that the bond

statute is a substantive provision that applies in federal court, not just in state court.

Add27. To support a bond, the statute required Micron to show “a reasonable



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likelihood” that Longhorn/Katana would ultimately be found to have “made a bad

faith assertion of patent infringement.” Idaho Code § 48-1707; see also id. § 48-

1703 (identifying factors for bad faith assertion). The district court concluded that

Micron had met the statutory standard for entitlement to a bond. Add28. In discuss-

ing various statutory factors pointing to bad faith, the court noted Micron’s showing

that its products used a thermoplastic encapsulant instead of a “resin,” as required

by the asserted ’806 patent claims, and Katana had no reason to think that Micron’s

products use resins, see Add22-23; that Longhorn’s activities and communications

were threatening and extortive, see Add23-24; that Katana should have been aware

of its patents’ invalidity based on abundant prior art, see Add24; that Katana’s com-

plaint contained deceptive assertions, such as implying that Longhorn was a totally

unrelated entity, not a puppeteer, Add24-25; and that Longhorn’s shell companies

had filed meritless claims against Micron before, involving a “litigation gimmick.”

Add25-26. All of that illustrated Longhorn/Katana’s shoot-first, ask-questions-later

business model and added up to a reasonable likelihood that Micron would ulti-

mately succeed in establishing a bad faith patent assertion.

       The district court also agreed that Micron had provided a reasonable estimate

of its costs to litigate Longhorn/Katana’s infringement claims. Add28. Micron’s

estimate was based on statistics from the American Intellectual Property Law Asso-

ciation on the cost of defending patent suits. Appx28-29. But the district court



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adopted a lower, even more conservative estimate (i.e., one that favored Long-

horn/Katana), and based on its own estimate, calculated a total bond requirement of

$8 million—about half the bond amount that Micron had requested. Add28-29. In

its Order, the court explained that one or the other of Longhorn or Katana had to post

the bond before Katana’s infringement case (No. 1:22-cv-00282) could proceed fur-

ther. Add30.

IV.   Longhorn/Katana Asked To Stay Their Infringement Case

      The Bond Order offered Longhorn and Katana a choice between paying the

bond or effectively staying their infringement case pending final resolution of Mi-

cron’s bad faith assertion claims. Add29-30. Specifically, nonpayment of the bond

shifts the order of issues, with Micron’s bad faith-assertion claims to be litigated

first, followed by the infringement claims and invalidity defenses. To date, Long-

horn/Katana have not paid the bond, asserting that it was “not feasible” for them to

do so, and their infringement claims remain pending. In addition, Longhorn/Katana

have also now asked the court for an affirmative stay of their infringement case,

citing Micron’s pending IPRs and this appeal. Katana Silicon Techs. LLC v. Micron

Tech., Inc., No. 22-cv-00282-DCN (D. Idaho June 30, 2023), ECF No. 69-1 (“Stay

Motion”).




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      Longhorn and Katana have now filed overlapping, parallel appeals challeng-

ing the district court’s Bond Order. See also Katana Silicon Techs. LLC v. Micron

Technology, Inc., No. 23-2095 (Fed. Cir.) (Katana’s appeal).

                                 LEGAL STANDARD

      Appellants Longhorn/Katana have the burden to show that this Court has

jurisdiction over their appeal. SafeTCare Mfg., Inc. v. Tele-Made, Inc., 497 F.3d

1262, 1266-67 (Fed. Cir. 2007). That requires Longhorn/Katana to show that there

is either a final judgment of the district court, 28 U.S.C. § 1295(a)(1), or a basis for

jurisdiction over an interlocutory order, id. § 1292(c). Pause Tech. LLC v. TiVo Inc.,

401 F.3d 1290, 1292 (Fed. Cir. 2005). Whether this Court has appellate jurisdiction

is a matter of Federal Circuit law. Id.

                                     ARGUMENT

I.    This Court Lacks Jurisdiction Over This Appeal Under
      Section 1295(a)(1) Because The Bond Order Is Not A Final Ruling

      A.     The Bond Order Is Not A Final Judgment

      This Court has jurisdiction over a “final decision” of a district court in a patent

case. 28 U.S.C. § 1295(a)(1). A final decision is one that “ends the litigation on the

merits and leaves nothing for the court to do but execute the judgment.” Catlin v.

United States, 324 U.S. 229, 233 (1945) (citation omitted). That fundamental rule

prevents piecemeal appeals and requires that all claims in the action have been de-

cided on the merits before an appeal. Pause Technology, 401 F.3d at 1292-93.

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Premature appeals must therefore be dismissed. See id. at 1293-95 (dismissing ap-

peal where district court had decided infringement but had not yet reached invalidity

counterclaims); Nystrom, 339 F.3d 1347, 1351 (Fed. Cir. 2003) (similar). That is

the case here: this litigation is not over.

       First, Micron’s bad faith assertion claims against Longhorn/Katana have not

been finally decided. The district court denied Longhorn/Katana’s motions to dis-

miss those claims. Add26, Add30. Further, Micron has already incurred significant

costs litigating numerous issues across multiple venues (the Western District of

Texas, the District of Idaho, the Idaho state district court, and the PTAB). As a

result, Micron would still be entitled to seek damages for bad faith assertion even if

Longhorn/Katana were to withdraw their baseless infringement claims.

       Second, Longhorn/Katana’s infringement claims are not dead. The district

court has not dismissed the infringement claims—either on the merits or for failure

to prosecute. And Longhorn/Katana have not asked for those claims to be withdrawn

or voluntarily dismissed. If Longhorn or Katana posts a bond or defeats Micron’s

bad faith assertion claims, their infringement case will continue. Further, even if the

district court disposed of Longhorn/Katana’s infringement claims, the ongoing pen-

dency of Micron’s counterclaim would still preclude Section 1295(a)(1) jurisdiction

absent certification under Federal Rule of Civil Procedure 54(b). Pause Technology,

401 F.3d at 1293-94. The district court made no such certification here.



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      Finally, even if this Court construes the Bond Order as a stay, “decisions on

motions to stay ordinarily are not appealable under the final judgment rule.” Intell.

Ventures II LLC v. JPMorgan Chase & Co., 781 F.3d 1372, 1375 (Fed. Cir. 2015);

see also Nystrom, 339 F.3d at 1351 (similar).

      Accordingly, the Bond Order is not an appealable final judgment under

28 U.S.C. § 1295(a)(1).

      B.     The Bond Order Is Not An Appealable Collateral Order

      Longhorn and Katana have suggested that the Bond Order falls within the

collateral order doctrine. That does not apply here either. The collateral order doc-

trine is a “narrow exception” to the final judgment rule that allows appeals only for

a “small class” of orders affecting rights that otherwise would “be irretrievably lost.”

Richardson-Merrell, Inc. v. Koller, 472 U.S. 424, 430-31 (1985) (citations omitted).

To meet that standard, an order must (1) “conclusively determine the disputed ques-

tion,” (2) “resolve an important issue completely separate from the merits of the ac-

tion,” and (3) “be effectively unreviewable on appeal from a final judgment.” Id.

(cleaned up).

      Longhorn and Katana will not irretrievably lose any right by awaiting a final

judgment here. If they prevail on the merits of Micron’s bad faith claim, the bond

requirement will fall away. If not, they can appeal at that point. Any delay in liti-

gating Longhorn/Katana’s infringement claims can always be accounted for in a



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final judgment because the asserted patents are expired, and there is no threat of

ongoing infringement. There is no prospect for the type of harm the collateral order

doctrine is meant to address: “harm that cannot be undone on appeal from a final

judgment.” Modern Font Applications LLC v. Alaska Airlines, Inc., 56 F.4th 981,

986 (Fed. Cir. 2022). That requires a bell that cannot be un-rung, such as an order

to make sensitive information public. See id. (discussing examples).

      The Bond Order likewise fails to meet any of the three basic requirements of

the collateral order doctrine. First, the bond is not conclusive—it can change. If

Longhorn or Katana does not pay the bond, the district court will resolve Micron’s

claim for bad faith patent assertion first. That will determine whether the bond is

still required. To the extent that Longhorn and Katana suggest that they cannot pay

because the bond is too high, the amount of the bond is not conclusive either. The

bond’s magnitude depends on the costs of defending the infringement case. Idaho

Code § 48-1707. There are pending IPRs against the asserted patents. If some or

all of those claims are held unpatentable, the cost of defending the infringement case

could shift, even plummet. See, e.g., Gulfstream Aerospace Corp. v. Maycamas

Corp., 485 U.S. 271, 278 (1988) (noting that an order is “inherently tentative” if the

district court “does not ‘necessarily contemplate’ that the decision will close the

matter for all time”).




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      Second, the Bond Order is not “completely separate from the merits.” Rich-

ardson-Merrell, 472 U.S. at 439-40. It is entangled with them. The requirement for

a bond, and its amount, depend on the infringement case and whether it was brought

in bad faith, including whether a reasonable plaintiff “would know or reasonably

should know that such assertion is meritless.” Idaho Code § 48-1703(2). The bond

issue is therefore inseparable from the merits of Longhorn/Katana’s infringement

claims and Micron’s defenses.

      Third, relief is available after a final judgment. To appeal now, Longhorn and

Katana must show that later review is impossible, not merely “unlikely.” Modern

Font, 56 F.4th at 985. But when this case becomes final, Longhorn/Katana either

will have already prevailed on the merits of Micron’s bad faith assertion claim (and

thus eliminated the bond requirement) or will be able to appeal regarding the bad

faith claim and the validity and amount of any final bond order. A successful appeal

would offer Longhorn/Katana a path for a remand to litigate the infringement claims

without posting the disputed bond. The Supreme Court has deemed analogous or-

ders affecting the course of litigation reviewable only after final judgment, in part

because a prejudiced litigant might be able to obtain a remand. See, e.g., Firestone

Tire & Rubber Co. v. Risjord, 449 U.S. 368, 377 (1981) (order refusing to disqualify

counsel deemed reviewable after final judgment); Flanagan v. United States, 465

U.S. 259, 265-66 (1984) (order disqualifying counsel also deemed reviewable after



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final judgment); Richardson-Merrell, 472 U.S. at 440 (same, even despite the “sig-

nificant hardship” the underlying order imposed). Orders that merely determine the

order in which issues are tried are reviewable after final judgment. Quantum Corp.

v. Tandon Corp., 940 F.2d 642, 644 (Fed. Cir. 1991) (refusal to defer willfulness

issue was effectively reviewable on appeal from final judgment).

      Finally, to the extent that the Bond Order has the practical effect of a stay, this

Court has held that stay orders are not immediately appealable under the collateral-

order doctrine. E.g., Habasit Belting Inc. v. Rexnord Indus., Inc.¸ 161 F. App’x 952,

953 (Fed. Cir. 2006); Ultratec, Inc. v. CaptionCall, LLC, 611 F. App’x 720, 721

(Fed. Cir. 2015); Klein v. United States, 60 F.3d 839 (Fed. Cir. 1995) (table).

II.   This Court Lacks Jurisdiction Because The District Court’s Bond Order
      Is A Non-Appealable Interlocutory Order

      Although this Court has limited jurisdiction over certain types of interlocutory

appeals, none of those situations is present here.

      A.     This Court Lacks Jurisdiction Under Section 1292(a)(1) Because
             The Appealed Order Is Not An Injunction

      Section 1292(a)(1) confers jurisdiction over orders “granting, continuing,

modifying, refusing[,] or dissolving injunctions.”7 But the district court’s Bond




7
   Under 28 U.S.C. § 1292(c)(1), this Court has jurisdiction over interlocutory ap-
peals to the extent specified by §§ 1292(a)-(b) in cases arising under the patent laws.

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Order is not an injunction. The court did not characterize it as an injunction, and it

lacks the effect of one. Section 1292(a)(1) does not apply.

      In practical effect, the district court’s bond operates as a temporary stay of one

set of claims within these cases: it puts Longhorn/Katana’s patent infringement

claims on pause while the bad faith patent assertion claims proceed or until Long-

horn or Katana posts the bond. Importantly, a stay is not an injunction under Section

1292(a)(1). Spread Spectrum Screening LLC v. Eastman Kodak Co., 657 F.3d 1349,

1359-60 (Fed. Cir. 2011); see also Intell. Ventures II, 781 F.3d at 1374-75, 1379 (no

interlocutory jurisdiction over stay pending CBM reviews where no statute imbued

court with interlocutory jurisdiction); Klein, 60 F.3d at 839 (no interlocutory juris-

diction over stay of refund action in Court of Federal Claims pending resolution of

later-filed action in district court because stay did not displace plaintiff from federal

forum and was not injunctive in nature).

      Further, even if the Bond Order could be equated with injunctive relief, Long-

horn/Katana would have to do “more” than show “that the order has the practical

effect of granting or refusing an injunction” to establish jurisdiction. Spread Spec-

trum, 657 F.3d at 1360 (quoting Carson v. Am. Brands, Inc., 450 U.S. 79, 84 (1981))

(cleaned up). An immediately appealable order must (1) “be injunctive in nature,”

(2) “cause a serious, if not irreparable consequence,” and (3) “be effectually chal-

lenged only by immediate appeal.” Woodard v. Sage Prods., Inc., 818 F.2d 841,



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849 (Fed. Cir. 1987) (en banc) (citing Carson, 450 U.S. at 84). These requirements

further the Supreme Court’s “narrow[ ]” reading of Section 1292(a)(1) as a “limited

exception” to the “congressional policy against piecemeal review.” Carson, 450

U.S. at 84. Longhorn/Katana cannot satisfy any of the conditions necessary for im-

mediate review.

      First, the Bond Order is not “injunctive in nature.” Woodard, 818 F.2d at 849.

Injunctions are equitable relief. A bond is legal, not equitable, and is designed to

ensure that compensation will be available if needed. See Orange Cnty. v. Hongkong

& Shanghai Banking Corp., 52 F.3d 821, 826 (9th Cir. 1995) (surveying circuits and

explaining that “security devices” are not “injunctive for purposes of section

1292(a)(1)”); TCL Commc’n Tech. Holdings Ltd. v. Telefonaktiebolaget LM Erics-

son, 943 F.3d 1360, 1372-73 (Fed. Cir. 2019) (explaining that a “release payment”

was legal, not equitable, because it was compensatory in nature). To the extent it

could be viewed more broadly, the district court’s Bond Order simply controls the

pace and order of litigation, akin to a stay or other ordinary docket-control activities

that are left to the district court’s discretion. Stays and case-management orders are

not injunctive in nature. See Spread Spectrum, 657 F.3d at 1360; Woodard, 818 F.2d

at 846; Gulfstream, 485 U.S. at 279 (“An order by a federal court that relates only

to the conduct or progress of litigation before that court ordinarily is not considered

an injunction and therefore is not appealable under § 1292(a)(1).”).                  If



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Longhorn/Katana pay the bond or succeed in defending against Micron’s claim for

bad faith patent assertion, their infringement claims can resume; otherwise, Micron’s

offensive claims proceed first.

      Second, Longhorn/Katana can point to no “serious” or “irreparable” conse-

quences of the Bond Order. Woodard, 818 F.2d at 849. A bond order prevents

irreparable consequences to a party. See Hitachi Zosen Clearing, Inc. v. Tek-Matik,

Inc., 846 F.2d 27, 29 (6th Cir. 1988) (explaining that prejudgment security devices

do not pose a serious risk of loss “since the interest of both parties is adequately

protected”). If Longhorn and Katana prevail in their infringement claims or in de-

fending against Micron’s bad faith assertion claims, any bond they pay will be re-

turned. If Micron prevails on its bad faith assertion claims, a bond will assure that

Longhorn/Katana end up paying what they owe by law. Nor can the temporary-stay

effect of declining to pay the bond count as a serious or irreparable consequence—

Longhorn/Katana have themselves affirmatively asked the district court to stay their

infringement claims pending resolution of this (premature) appeal and the parallel

IPRs. Stay Motion at 2 (Longhorn/Katana arguing that “[w]hile these IPRs review

Katana’s patents, the cases here should be stayed”). In view of that request, it cannot

also be urgent to litigate those same infringement claims now, and temporarily put-

ting the infringement claims on hold risks no irreparable harm.




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      Third, the bond is not “effectually challenged only by immediate appeal.”

Woodard, 818 F.2d at 849, 854-55. Longhorn/Katana’s infringement case is simply

paused. Meanwhile, Micron’s bad faith assertion claims continue. Longhorn/Kat-

ana can obtain relief by prevailing on those claims before the district court or on

appeal if, as they insist, their infringement case was filed in good faith. In short,

immediate appeal is not Longhorn/Katana’s only option.

      B.     The District Court Did Not Certify A Legal Question Under
             Section 1292(b)

      In limited cases, Section 1292(b) allows for interlocutory jurisdiction where a

district judge issues an order and certifies that the order “involves a controlling ques-

tion of law as to which there is substantial ground for difference of opinion and that

an immediate appeal from the order may materially advance the ultimate termination

of the litigation.” The district court made no such certification. Even if it had, how-

ever, and even if Longhorn/Katana had made a timely application, review by this

Court would still be discretionary. See Ultra-Precision Mfg. Ltd. v. Ford Motor Co.,

338 F.3d 1353, 1357-58 (Fed. Cir. 2003). Because Longhorn/Katana have suffered

no injury, there would be no reason to permit a piecemeal appeal. In short, Long-

horn/Katana cannot establish jurisdiction under Section 1292(b).




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      C.     Longhorn/Katana Cannot Identify Any Other Viable Grounds For
             Jurisdiction

      When asked, Longhorn and Katana have suggested that the Bond Order is an

injunction or a collateral order, which is incorrect for the reasons explained above.

The only other basis for appellate jurisdiction they have offered was to suggest that

bond awards are immediately appealable as of right. But that is not even remotely

true. See Hitachi, 846 F.2d at 29 (explaining that “courts of appeals have uniformly

held that orders granting … security are not immediately appealable”); Kensington

Int’l Ltd. v. Republic of Congo, 461 F.3d 238, 240-42 (2d Cir. 2006) (holding unap-

pealable order requiring posting of bond to cover costs).

      Likewise, Longhorn/Katana have not petitioned for mandamus. At best,

Longhorn/Katana have suggested that they might seek mandamus relief in the alter-

native. ECF No. 3 (docketing statement of Longhorn IP, LLC). But, even if they

do, they cannot meet the exacting mandamus standard, which requires a petitioner

to show (1) a clear and indisputable legal right, (2) a lack of any other adequate

method for obtaining relief, and (3) that the writ is appropriate under the circum-

stances. Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380-81 (2004). Applying

that standard, this Court routinely denies mandamus petitions aimed at dislodging a

district court’s temporary stay. See, e.g., In re Med. Components, Inc., 535 F. App’x

916, 918-19 (Fed. Cir. 2013) (denying mandamus where petitioner challenged dis-

trict court’s stay pending reexamination); In re Intertape Polymer Corp., 121 F.

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App’x 386, 386-87 (Fed. Cir. 2004) (denying mandamus where petitioner chal-

lenged district court’s stay pending en banc appellate decision). The same conclu-

sion would be warranted here. First, Longhorn/Katana have no clear and indisputa-

ble right to avoid paying a bond required by law to secure a defendant’s recovery

after fighting off bad faith infringement allegations. That issue has not been decided

in their favor by any court. Second, Longhorn/Katana have other adequate methods

for obtaining relief. For instance, they can litigate Micron’s bad faith assertion claim

first. If they win, the bond goes away. If they lose, they can immediately appeal

that claim from a final judgment because the Longhorn case includes only Micron’s

claim for bad faith patent assertion and Longhorn’s counterclaim challenging the

Idaho statute. Micron Tech., Inc. v. Longhorn IP, LLC, No. 1:22-cv-00273 (D. Idaho

May 17, 2023), ECF No. 51 (answer and counterclaim). Third, the writ would not

be appropriate under the circumstances here because Micron’s bad faith assertion

claim and IPRs remain ongoing, and those actions could moot the bond entirely (for

example, if Longhorn/Katana prevail on the bad faith claim) or substantially de-

crease its amount (if the IPRs streamline the infringement case and thereby reduce

Micron’s overall cost of defense).




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                          CONCLUSION

The Court should dismiss Longhorn’s and Katana’s appeals.




                      Respectfully submitted,

                      PERKINS COIE LLP
                      by /s/Amanda Tessar
                           Amanda Tessar
                      Counsel for Appellees Micron




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                           UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

KATANA SILICON
TECHNOLOGIES LLC,                                    Case No. 1:22-cv-00282-DCN
                    Plaintiff,                       Case No. 1:22-cv-00273-DCN

      v.
                                                     MEMORANDUM DECISION
MICRON TECHNOLOGY, INC, et al.,                      AND ORDER
                    Defendants.

MICRON TECHNOLOGY, INC., et al.,
                        Plaintiffs,
v.
LONGHORN IP, LLC,
                        Defendants.


                                       I. INTRODUCTION

      Before the Court are three motions from two connected actions: Microns Motion

for Bond (Longhorn Dkt. 3), Longhorns Motion to Dismiss (Longhorn Dkt. 7), and

Katanas Motion to Dismiss (Katana Dkt. 27). On January 10, 2023, the Court held oral

argument and took the motions under advisement. Upon review, and for the reasons below,

the Court DENIES Longhorn and Katanas Motions to Dismiss and GRANTS Microns

Motion for Bond.

                                       II. BACKGROUND

           1. The Act

      The Idaho Bad Faith Assertions of Patent Infringement Act (the Act) is designed


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to discourage patent trolls. It makes it unlawful for a person to make a bad faith assertion

of patent infringement in a demand letter, a complaint, or any other communication. Idaho

Code § 48-1703(1). It also creates a private cause of action for those targeted by bad-faith

demand letters, empowering courts to grant equitable relief, costs and fees, and significant

punitive damages. Idaho Code § 48-1706.

       The Act contains a bond provision:

               Upon motion by a target and a finding by the court that a target
               has established a reasonable likelihood that a person has made
               a bad faith assertion of patent infringement in violation of this
               chapter, the court shall require the person to post a bond in an
               amount equal to a good faith estimate of the targets costs to
               litigate the claim and amounts reasonably likely to be
               recovered under this chapter, conditioned upon payment of any
               amounts finally determined to be due to the target . . . .

Idaho Code § 48-1707 (emphasis added).

           2. The Parties

       Micron Technology, Inc.1 (Micron) is a major manufacturer of semiconductors

headquartered in Boise, Idaho. Longhorn IP, LLC (Longhorn) is a patent licensing

company headquartered in Texas. It does not create products or offer services. Instead, it

makes money by asserting a portfolio of patents against companies that do. Through a

network of affiliates,2 it acquires and enforces patents on, among other things,

semiconductors. One of its many affiliates is Katana Silicon Technologies, LLC

(Katana), which owns patents covering semiconductor manufacturing.

1
  Two Micron subsidiaries are also parties: Micron Semiconductor Products, Inc., and Micron Technology
Texas, LLC.
2
  Micron alleges that this affiliate structure allows Longhorn to aggressively pursue judgments against
other companies while remaining judgment-proof itself.


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            3. The Katana Case

       On March 4, 2022, Katana sued Micron for patent infringement in the U.S. District

Court for the Western District of Texas (the Katana case). Katana alleged certain Micron

products infringed on three of its patents: No. RE38,806 (the 806 patent), No. 6,352,879

(the 879 patent,), and No.6,731,013 (the 013 patent). The 806 patent and the 879

patent cover miniaturized devices that allow for many semiconductor chips to be contained

in a small space. These patents expired on December 30, 2018. The 013 patent covers a

special wiring substrate for semiconductor devices that relieves connection failure between

the semiconductor chip and the terminal section. It expired on July 5, 2021.

       Micron, which had previously been sued by a different Longhorn affiliate,

perceived Katanas suit to be a bad-faith assertion of patent infringement. It filed an

Answer (Katana Dkt. 13) asserting a counterclaim under the Act and seeking equitable

relief, costs and fees, and damages. Katana countered with a motion to dismiss Microns

counterclaim, arguing that the Act is preempted because the federal government, not the

states, regulates patents. Katana Dkt 27. Micron then asked the U.S. District Court for the

Western District of Texas to transfer the Katana case to the District of Idaho and the court

agreed. Once the case was in Idaho, the State of Idaho exercised its right to intervene and

defend the Act, filing a memorandum in opposition to Katanas Motion to Dismiss. Katana

Dkt. 43.

            4. The Longhorn Case

       The same day Micron filed its Answer and counterclaim in Texas, it sued Longhorn,

which allegedly controls Katana, in Idaho state court (the Longhorn case). The Longhorn


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case alleges that the patent infringement asserted in the Katana case violated the Act. Under

Section 48-1707, Micron asked the court to impose a $15 million bond on Longhorn and

Katana, asserting that this amount was a good faith estimate of its costs to litigate the claim

and the amount reasonably likely to be recovered. See Longhorn Dkt. 1-6, at 23. Longhorn

removed the case here and then moved to dismiss, raising the same constitutional

arguments it did in the Katana case. Once again, the State intervened to defend the Act.

       Both the Katana and Longhorn cases are now before the Court.

                                  III. LEGAL STANDARD

   A. Motion to Dismiss

       Federal Rule of Civil Procedure 8 requires a complaint to contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). The Iqbal/Twombly facial plausibility standard is met when a complaint

contains factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. Id., citing Twombly, 550 U.S. at 556.

Accordingly, to avoid dismissal for failure to state a claim, a complaint must provide

sufficient factual allegations to show that there is more than a sheer possibility that a

defendant has acted unlawfully. Id.

       A court need not assume the truth of legal conclusions cast in the form of factual

allegations. U.S. ex rel. Chunie v. Ringrose, 788 F.2d 638, 643 n.2 (9th Cir. 1986). Rule

8 demands more than an unadorned, the defendant-unlawfully-harmed-me accusation.

Iqbal, 556 U.S. at 678. If a complaint fails to state a plausible claim, [a] district court


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should grant leave to amend even if no request to amend the pleading was made, unless it

determines that the pleading could not possibly be cured by the allegation of other facts.

Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (cleaned up).

   B. Motion for Bond

       The Act gives courts nine factors to consider in determining whether a patent is

asserted in bad faith:

              (a) [A] person sends a demand letter to a target without first
              conducting an analysis comparing the claims in the patent to
              the targets products, services or technology.
              (b) The demand letter does not contain the following
              information:
                      (i) The patent number;
                      (ii) The name and address of the patent owner or owners
              and assignee or assignees, if any; and
                      (iii) The factual allegations concerning the specific
              areas in which the target's products, services and technology
              infringe the patent or are covered by the claims in the patent.
              (c) The demand letter does not identify specific areas in which
              the products, services and technology are covered by the
              claims in the patent.
              (d) The demand letter demands payment of a license fee or
              response within an unreasonably short period of time.
              (e) The person offers to license the patent for an amount that is
              not reasonably based on the value of a license to the patent.
              (f) The person asserting a claim or allegation of patent
              infringement acts in subjective bad faith, or a reasonable actor
              in the persons position would know or reasonably should
              know that such assertion is meritless.
              (g) The claim or assertion of patent infringement is deceptive.
              (h) The person or its subsidiaries or affiliates have previously
              filed or threatened to file one (1) or more lawsuits alleging
              patent infringement based on the same or similar claim, the
              person attempted to enforce the claim of patent infringement
              in litigation and a court found the claim to be meritless.
              (i) Any other factor the court finds relevant.

Section 48-1703. The Act provides another four factors a court may consider in


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determining a patent is not asserted in bad faith:

              (a) The person engages in a good faith effort to establish that
              the target has infringed the patent and to negotiate an
              appropriate remedy.
              (b) The person makes a substantial investment in the use of the
              patent or in the production or sale of a product or item covered
              by the patent.
              (c) The person has:
                     (i) Demonstrated good faith in previous efforts to
              enforce the patent, or a substantially similar patent; or
                     (ii) Successfully enforced the patent, or a substantially
              similar patent, through litigation.
              (d) Any other factor the court finds relevant.

Id.

                                      IV. ANALYSIS

       The motions at issue raise three major questions. First, is the Act preempted by

federal law? Second, has the applicable statute of limitations run? Finally, has Micron

pleaded enough facts to state a plausible claim under the Act, and on those facts, is a

bond warranted?

A. Federal Preemption

       Longhorn and Katana argue that the Act cannot exist alongside U.S. patent laws in

our federal system and so is preempted under the Supremacy Clause. Longhorn Dkt. 7-1,

at 15. The Supremacy Clause dictates that federal law is the supreme Law of the Land.

U.S. Const. art. VI, cl. 2. Thus, federal law preempts incompatible state laws. See Oneok,

Inc. v. Learjet, Inc., 575 U.S. 373, 376 (2015). Preemption comes in three forms: express

preemption, field preemption, and conflict preemption. Assn des Éleveurs de Canards et

d'Oies du Quebec v. Bonta, 33 F.4th 1107, 111314 (9th Cir. 2022). Field and conflict



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preemption are types of implied preemption. Id. at 1114.

          1. Express Preemption

       Congress may expressly preempt a state law by passing targeted federal legislation.

Id. Here, no party has submittedand the Court has not foundany federal statute

expressly preempting the Act. Further, the Federal Circuit has held that federal patent law

does not generally preempt state unfair competition law, which the Act could be read to

be. Hunter Douglas, Inc. v. Harmonic Design, Inc., 153 F.3d 1318, 133233 (Fed. Cir.

1998), overruled on other grounds by Midwest Indus., Inc. v. Karavan Trailers, Inc., 175

F.3d 1356 (Fed. Cir. 1999). For these reasons, the Court finds that the Act is not

expressly preempted.

          2. Implied Preemption

       Federal statutes may impliedly preempt state ones. See Crosby v. Natl Foreign

Trade Council, 530 U.S. 363, 372 (2000). The Supreme Court, however, has sometimes

applied a presumption against implied preemption. See Wyeth v. Levine, 555 U.S. 555, 565

(2009). In Wyeth, the Court applied the presumption and upheld a state law regulating drug

labelling, despite noting that the Federal government had historically regulated this field.

Id. (establishing an assumption that the historic police powers of the States were not to be

superseded by the Federal Act unless that was the clear and manifest purpose

of Congress.). But see Buckman Co. v. Plaintiffs Legal Comm., 531 U.S. 341 (2001)

(refusing to apply the presumption to a fraud case against a federal agency because the

relationship between federal agencies and regulated parties is inherently federal in

character); Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1, 14 (2013)


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(declining to apply the presumption to a state law governing voter-registration officials

because state regulation of congressional elections has always existed subject to the

express qualification that it terminates according to federal law).

       Patent law is quintessentially federal. See Bonito Boats, Inc. v. Thunder Craft Boats,

Inc., 489 U.S. 141, 156 (1989). States have no authority to issue patents or protect

intellectual property in similar ways. Id. But they do have authority to protect businesses

and regulate unfair competition. See Hunter Douglas, 153 F.3d at 133233.

       This case pits the federal governments exclusive right to issue and regulate patent

protections against Idahos police power to protect its businesses from harassment. Though

the question is close, the Court finds that the fundamentally federal nature of patents weighs

against applying the presumption. Thus, because of the inherently federal subject matter at

issue here, the Court will address the implied preemption arguments without applying

any presumption.

       Implied preemption can be divided into two general categories: field preemption

and conflict preemption. Association des Eleveurs de Canards, 33 F.4th at 1114. The Court

will address each one in turn.

                      a. Field Preemption

       Field preemption occurs when the scope of a federal statute indicates that Congress

intended federal law to occupy a field exclusively. Kurns v. R.R. Friction Prod. Corp.,

565 U.S. 625, 630 (2012) (cleaned up). Here, the federal government occupies the field of

patent issuance. See Bonito Boats, 489 U.S. at 156 (1989). Still, state law is not displaced

just because it relates to intellectual property. Id. [T]he states are free to regulate the use


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of . . . intellectual property in any manner not inconsistent with federal law. Id. (quoting

Aronson v. Quick Point Pencil Co., 440 U.S. 257, 262 (1979)). The case for federal

preemption is particularly weak where Congress has indicated its awareness of the

operation of state law in a field of federal interest, and has nonetheless decided to stand by

both concepts and to tolerate whatever tension there [is] between them. Wyeth, 555 U.S.

at 575 (quoting Bonito Boats, 489 U.S. at 166167).

        Here, more than half of the states3 have adopted statutes outlawing bad-faith patent

assertion. These state laws do not establish quasi-patent protections. Instead, they allow

damages against those who abuse the federal patent system. Congress, by contrast, has

neither passed legislation outlawing bad faith patent assertion nor established a standard

for finding bad faith.4

        By choosing not to legislate on the issue of bad-faith patent assertion, Congress has

created a policy vacuum. Many states have stepped into that vacuum to protect local

businesses from shakedowns at the hands of patent trolls. Considering there are more than

30 state acts prohibiting bad faith patent assertion, it is reasonable to assume that Congress

knows about these acts and that its continued silence constitutes acquiescence. See Wyeth,

555 U.S. at 575. Thus, the Court finds that field preemption does not render the Act



3
      Guide      to     State      Patent    Legislation,   Patent      Progress,     (May       1,    2019),
https://web.archive.org/web/20190911174618/https://www.patentprogress.org/patent-progress-
legislation-guides/patent-progresss-guide-state-patent-legislation/ (identifying thirty-three states with bad
faith patent assertions statutes) (accessed via the Wayback Machine as the site appeared on Sep. 11, 2019).
4
 The federal standard for finding bad faith is the product of caselaw, not legislation. See Globetrotter
Software, Inc. v. Elan Comput. Grp., Inc., 362 F.3d 1367, 137577 (Fed. Cir. 2004) (holding that bad faith
has both an objective and subjective component).


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unconstitutional.

                     b. Conflict Preemption

       [C]onflict preemption arises when state law conflicts with a federal statute. Assn

des Éleveurs de Canards, 33 F.4th at 1114. Conflict preemption has at least two

subcategories of its own: impossibility preemption and obstacle preemption. See id.

                            i. Impossibility Preemption

       Impossibility preemption occurs where it is impossible for a private party to

comply with both state and federal law. Crosby, 530 U.S. at 372. Here, Longhorn and

Katana argue that the Act conflicts with federal law in at least two ways. Both arguments

involve the way courts apply allegedly competing standards, not the way private parties

comply with them. The Court will nevertheless consider whether the Act makes it

impossible for courts to apply both state and federal standards.

       First, Longhorn and Katana argue the Act contradicts Federal law because it

improperly substitutes a set of decision-making factors for the federal standarda simple

presumption of good faith. Federal law dictates that [a] patent shall be presumed valid.

35 U.S.C.A. § 282; see also C.R. Bard, Inc. v. M3 Sys., Inc., 157 F.3d 1340, 1369 (Fed.

Cir. 1998) (the assertion of a duly granted patent is [presumed to be] made in good faith.).

This presumption is overcome only by affirmative evidence of bad faith. C.R. Bard, Inc.,

157 F.3d at 1369. The Act, on the other hand, supplies courts with a series of factors to

consider in determining whether a patent is being asserted in bad faith. The list is open

ended: it includes the catch-all [a]ny other factor the court finds relevant. Idaho Code §§

48-1703(2)(i); 48-1703(3)(d).


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       The Act does not make compliance with federal law impossible. In fact, it plays in

close harmony with the federal standard. By providing examples of evidence that might

overcome the presumption of good faith, the state legislature has not supplanted that

presumption. If anything, the Act facilitates the application of the federal standard by

illustrating what kinds of behavior could constitute bad faith. The list of factors, which

includes any other factor the court finds relevant, leaves courts free to consider and

follow federal guidance. Idaho Code §§ 48-1703(2)(i); 48-1703(3)(d).

       It is true that the Act contains factors a court may consider as evidence that a person

has not made a bad faith assertion of patent infringement. Idaho Code § 48-1703(3)(3)

(emphasis added). The inclusion of these factors, however, does not negate the presumption

of good faith, nor does the Act require courts to make an affirmative finding of good faith

before a patent may be enforced. The Act is concerned only with bad faith patent assertion,

not general patent enforcement, and the language of Section 48-1703 is remarkably

permissive. It offers factors that courts may consider, includingtwicea sweeping catch-

all that invites courts to consider whatever other factors they find relevant. See Idaho Code

§§ 48-1703(2)(i); 48-1703(3)(d). How, (and whether), a court applies the factors is left to

the judges discretion.

       Because a court must follow federal law, the factors in Section 48-1703 are best

viewed as a supplement to the federal standard, not an obstacle to it. Courts must apply the

factors in a manner consistent with the federal presumption of good faith, and nothing in

the Act prevents them from doing so. For these reasons, the Court finds that the factors in

Section     48-1703   are   compatible     with    federal   law     and   do    not   engage


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impossibility preemption.

       Second, Longhorn and Katana argue the Act impermissibly allows courts to find

that patents are being asserted in bad faith without specifically finding evidence of both

objective and subjective bad faith, as Federal law requires. State laws creating liability for

asserting a patent are preempted by federal patent laws, unless the claimant can show that

the patent holder acted in bad faith. Energy Heating, LLC v. Heat On-The-Fly, LLC, 889

F.3d 1291, 1304 (Fed. Cir. 2018). Bad faith requires a showing that the claims of

infringement are both objectively baseless and asserted in subjective bad faith. Globetrotter

Software, Inc. v. Elan Comput. Grp., Inc., 362 F.3d 1367, 137577 (Fed. Cir. 2004).

       Here, in a single factor, the Act provides that courts may consider whether [t]he

person asserting a claim or allegation of patent infringement acts in subjective bad faith, or

a reasonable actor in the persons position would know or reasonably should know that

such assertion is meritless. Idaho Code § 48-1703(2)(f)).

       Unlike the Federal standard, which requires a specific finding of both objective and

subjective bad faith, the Acts factor could be read to permit consideration of only one or

the other. The problem is the difference between and and or. This inconsistency in

conjunctions might create an issue, were it not for the catch-all clauses in Section 48-1703,

which allow courts to consider any other factor they find relevant. See Idaho Code §§ 48-

1703(2)(i); 48-1703(3)(d). Courts applying the Act must consider the federal standard

requiring both objective and subjective findingsas a relevant factor, and the Act allows

them to do so. The Act and federal law are not mutually exclusive, and so impossibility

preemption does not apply.


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                            ii. Obstacle Preemption

       Obstacle preemption occurs where state law stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of Congress. Crosby,

530 U.S. at 373. [S]tate regulation of intellectual property must yield to the extent that it

clashes with the balance struck by Congress in our patent laws. Bonito Boats, 489 U.S. at

152. In Bonito Boats, a Florida statute barred people from duplicating a proprietary

molding process used for making boat hulls, or selling duplicated hulls, effectively granting

this unpatented molding process greater protection than it would have received under

federal patent laws. Id. at 14445. The Supreme Court held that this state law improperly

upset the balance of interests Congress struck in its patent laws, and so was preempted. Id.

at 152. The Court held that, when it is clear how patent laws strike the balance between

the desire to freely exploit the full potential of our inventive resources and the need to

create an incentive to deploy those resources, the states may not second guess Congress

judgment by passing more stringent intellectual property protections. See id.

       Similarly, at least one federal court has found that a state may not disrupt the

congressionally chosen calculus of litigation incentives and disincentives by providing

for attorneys fees in patent cases other than those available under federal law. Bldg.

Innovation Indus., LLC v. Onken, 473 F. Supp.2d 978, 98688 (D. Ariz. 2007).

       The Federal Patent Act (Patent Act) is Congress primary effort to balance what

Bonito Boats called the desire to freely exploit the full potential of our inventive

resources against the need to create an incentive to deploy those resources. 489 U.S. at

152. To discourage patent infringement, the Patent Act sets a floor for the damages a


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successful patentee can receive: nothing less than a reasonable royalty for the use made

of the invention by the infringer, together with interest and costs as fixed by the court. 35

U.S.C.A. § 284. It also sets a ceiling: the court may increase the damages up to three times

the amount found or assessed. Id.

       The Patent Act discourages egregious abuse of the patent system. It provides that

courts may, in exceptional cases, award reasonable attorney fees to a prevailing party.

35 U.S.C. § 285. This provision, which Congress added in 1945, enabled courts to address

unfairness or bad faith in the conduct of the losing party. Octane Fitness, LLC v. ICON

Health & Fitness, Inc., 572 U.S. 545, 548 (2014) (cleaned up); see also Pennsylvania

Crusher Co. v. Bethlehem Steel Co., 193 F.2d 445, 451 (3rd Cir. 1951) (listing vexatious

or unjustified litigation as adequate justification for awarding attorneys fees). Congress

recodified the provision in 1952, adopting its current language, but the change did not

substantively alter its meaning. See Octane Fitness, 572 U.S. at 549. In Octane Fitness, the

Supreme Court expanded the applicability of this provision, holding that something less

than bad faith could warrant fee shifting. Id. at 555.

       Here, the Act strikes a similar balance to the one struck by Congress. It expresses a

strong policy against patent infringement:

              (b) . . . Patent holders have every right to enforce their patents
              when they are valid and infringed, to solicit interest from
              prospective licensees and to initiate patent enforcement
              litigation as necessary to protect intellectual property.

              (c) The legislature does not wish to interfere with the good faith
              enforcement of patents or good faith patent litigation. The
              legislature also recognizes that Idaho is preempted from
              passing any law that conflicts with federal patent law.


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Idaho Code § 48-1701(b)(c). Though it does not set a floor, it does set a ceiling for the

damages a successful party may be entitled to if it proves a patent has been asserted in bad

faith. A court may grant a successful plaintiff his actual costs and damages, plus exemplary

damages of fifty thousand dollars or three times the total of his damages, costs and fees,

whichever is greater. Idaho Code § 48-1706(1).

       Longhorn and Katana complain that the Act unfairly chills patentees ability to

enforce their rights: [b]y regulating federal lawsuits and allowing for quadruple damages,

an up-front bond, and injunctive relief, [the Act] strikes a lopsided balance of the rights of

patentees and apparent infringers and poses an obstacle to the full purposes and objectives

of federal patent laws. Longhorn Dkt. 71, at 19. The Court disagrees.

       The Act does not stand as an obstacle to the policy goals Congress expressed in the

Patent Act. Both the state Act and the federal Patent Act have the end goal of protecting

valid patents without enabling bad-faith or vexatious litigation.

       The fee-shifting provision in the Patent Actwhich the Supreme Court recently

expanded and emphasized in Octane Fitness, is especially relevant. Through that provision,

Congress intended to allow courts to penalize abusive or bad-faith patent litigationthe

identical aim the Idaho Legislature had in passing the Act. Remarkably, the fee-shifting

provision in the Patent Act requires a lower evidentiary threshold than the threshold in the

Act. Compare 35 U.S.C. § 285 (allowing fee-shifting in exceptional cases) with Idaho

Code Section 48-1703 (allowing damages when a court finds affirmative evidence of bad

faith); Octane Fitness, 572 U.S. at 555 (holding that the federal Patent Act requires



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something less than bad faith) with Globetrotter Software, 362 F.3d at 137577 (holding

that state laws creating liability for patent assertion require a showing that the claims of

infringement are both objectively baseless and asserted in subjective bad faith). The Act

has the same essential purposes as the Patent Act and goes no further than its federal

counterpart in pursuing them. There is no conflict of purpose or objective here.

       Longhorn and Katana nevertheless assert that there is a conflict of method and

execution. They argue that the Act threatens to upset at least one federal policy balance by

allowing higher damages for successful defendants than the Patent Act allows successful

plaintiffs. The Federal Patent Act allows a court to give successful plaintiffs treble

damages. Functionally, the state Act allows a court to grant successful defendants

quadruple damages. This disparity allows the inference that the Idaho legislature views

bad-faith patent assertion as a bigger problem than Congress does and has attempted to

alter the congressionally chosen calculus of litigation incentives accordingly. Onken, 473

F. Supp.2d at 987.

       Bonito Boats held this type of alteration would be inappropriate in the context of a

state law providing quasi-patent protections. And Onken suggests it would be inappropriate

in the context of a state law creating new fee shifting provisions separate from those already

in the federal Patent Act. Neither decision, however, fits neatly with the facts here.

       Besides addressing mirror-opposite state activity (in Bonito Boats, Florida was

trying to protect IP owners from infringement by businesses; here, Idaho is trying to protect

businesses from harassment by IP owners), Bonito Boats forbade states from upsetting

Congress solution to the problem of how to motivate creators without stifling creativity.


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Unlike that high-level, strategic compromise, this case implicates a more tactical

compromise: should the risks and potential rewards of litigation favor IP owners

or businesses?

          Congress has not directly addressed this issue in the context of bonds and damages.

Onken expressly addresses this tactical compromise, but only in the context of attorneys

fees, which are already provided for by the Patent Act. By contrast, there is no federal

statute on bad faith assertion of patent infringement. The distinction is important because

fee shifting alone does not address the entire calculus of litigation incentives: it may not be

an effective deterrent against patent trolls who have compartmentalized their liability and

assets to avoid the potential negative consequences of litigation.5 Damages and bonds are

a developing part of the calculus, which Congress has yet to weigh in on. As discussed,

this is an area where Congress has been content to let states do the legislatingand courts

asked to review those state acts have upheld their constitutionality. See NAPCO, Inc. v.

Landmark Tech. A, LLC, 555 F. Supp. 3d 189, 212 (M.D.N.C. 2021) (upholding a North

Carolina bad-faith patent assertion statute providing for quadruple damages); Landmark

Tech., LLC v. Azure Farms, Inc., 2020 WL 1430088, at *5 (D. Or. Mar. 24, 2020)




5
    At least one state legislature has made such a finding:

          In lawsuits involving abusive patent assertions, an accused infringer prevailing on the
          merits may be awarded costs and, less frequently, fees. These awards do not serve as a
          deterrent to abusive patent assertion entities who have limited liability, as these companies
          may hold no cash or other assets. North Carolina has a strong interest in making sure that
          prevailing North Carolina companies sued by abusive patent assertion[] entities can recover
          what is awarded to them.

N.C. Gen. Stat. § 75-141(9).


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(upholding a similar Oregon statute); Washington v. Landmark Tech. A, LLC, No. 2:21-cv-

00728-RSM (ECF No. 35), slip op. at 12 (W.D. Wash. Oct. 28, 2022) (upholding a similar

Washington statute).

       The Act does not intrude on Congress exclusive right to grant patents. Nor does it

alter any policy line that Congress has expressly drawn. Without more guidance from

Congress, the Court will not strike down the Act just because of the difference between

triple and quadruple damages. Because the Act is not inconsistent with Congress express

policies, the Court finds that it is not an obstacle to them. See Aronson, 440 U.S. at 262

(upholding a contract that had the effect of a patent because it was not inconsistent with

express congressional policy).

          3. The Noerr-Pennington Doctrine

       Longhorn and Katana argue that, by making it unlawful to assert bad-faith patent

infringement in a complaint, the Act impermissibly interferes with the ability to sue in

federal court. The NoerrPennington doctrine immunizes defendants against antitrust

liability for engaging in conduct aimed at influencing decision-making by the government,

including litigation. Octane Fitness, 572 U.S. at 55556. Courts have applied the Noerr-

Pennington doctrine to bar any claim, federal or state, common law or statutory, that has

as its gravamen constitutionally-protected petitioning activity. Gen-Probe, Inc. v. Amoco

Corp., 926 F. Supp. 948, 955 (S.D. Cal. 1996) (collecting cases and finding that Noerr

immunity is constitutional and rooted in the First Amendment right to petition).

       The Noerr-Pennington doctrine, however, does not protect defendants engaged in

sham litigation. Pro. Real Est. Invs., Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49,


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51 (1993). Sham litigation is objectively baseless in the sense that no reasonable litigant

could realistically expect success on the merits. Globetrotter Software, 362 F.3d at 1376.

In other words, the plaintiff must have brought baseless claims in . . . [subjective] bad

faith. Octane Fitness, 572 U.S. at 556. The fundamental question is one of reasonableness.

See Globetrotter Software, 362 F.3d at 1376.

       Because application of the Noerr-Pennington Doctrine requires a fact-intensive

reasonableness determination, it is impractical to consider at the motion-to-dismiss stage.

Washington v. Landmark Tech. A, LLC, No. 2:21-cv-00728-RSM (ECF No. 35), slip op.

at 12 (W.D. Wash. Oct. 28, 2022) (declining to decide whether Washingtons bad faith

patent assertion statute violated the NoerrPennington doctrine at the motion-to-dismiss

stage); see also NAPCO, Inc., 555 F. Supp. 3d at 215 (declining to find Noerr-Pennington

immunity on a motion to dismiss because reasonableness is a question of fact).

       Here, the Court is asked to determine whether the Act unconstitutionally interferes

with Longhorn and Katanas First Amendment right to petition the government for redress

of grievances, which requires it to determine whether they are engaged in sham litigation.

Both questions are fact intensive and premature at the motion-to-dismiss stage. The Court

may take up these arguments upon the completion of discovery, but it will not dismiss any

complaints on Noerr-Pennington grounds before then.

B. Time Bars

       Longhorn and Katana argue that Microns claims under the Act have been barred

since 2021. The Act, in creating a private cause of action, also creates a limitations period:




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                No private action may be brought under the provisions of this
                chapter more than three (3) years after the cause of action
                accrues. A cause of action shall be deemed to have accrued
                when the party bringing an action under the provisions of the
                chapter knows, or in the exercise of reasonable care should
                have known, about the violation of the provisions of this
                chapter. Each bad faith assertion of patent infringement
                constitutes a separate violation of this chapter.

Idaho Code § 48-1706(3) (emphasis added). The Act prohibits bad-faith assertions of

patent infringement in a demand letter, a complaint, or any other communication. Idaho

Code § 48-1703(1).

        Here, Micron knew about Katana and Longhorns intent to assert their patents as

early as 2018, when Katana sent demand letters and met with Micron at its Boise

headquarters. Katana filed its complaint on March 4, 2022, some three years after first

threatening to do so. Micron made its first claim under the Act on June 6, 2022.

        It is undisputed that, for purposes of the statute of limitations, a cause of action

accrued in 2018 when Micron first knew of Longhorn and Katanas intent to assert their

patents. The issue is whether the Katana complaint constituted a new assertion of the

Katana patents, or merely another step in an ongoing assertion that began in 2018. The

Katana complaint, Longhorn argues, was an escalation of an existing assertion, not a new

assertion that triggered a new limitations period. Micron counters that each demand letter

and complaint constituted an independent assertion that triggered a distinct

limitation period.6


6
 Micron also argues that Longhorn and Katanas actions constituted a continuing tort such that the statute
of limitations should be tolled. The Court does not decide this question here because, at this stage of the
proceedings, it is moot.


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       Micron is within the statute of limitations. The Act lists complaints as unlawful acts

distinct from demand letters. See Idaho Code § 48-1703(1)) (making it unlawful for a

person to make a bad faith assertion of patent infringement in a demand letter, a complaint,

or any other communication.) (emphasis added). Because a demand letter usually

precedes a complaint, this language is redundant if a complaint that follows a demand letter

does not constitute a separate assertion. Further, [e]ach bad faith assertion of patent

infringement constitutes a separate violation. Idaho Code § 48-1706(3). This provision

suggests that, in commencing patent litigation against a target, a person may commit a

separate violation at each step or escalation of the process, rather than committing one

extended violation that begins with the demand letter and ends three years later, no matter

what escalatory tactics are employed in between.

       Finally, Longhorns reading of the limitations provision would allow bad actors to

defeat the Act through gamesmanship: if a patent troll can escape the Act by waiting three

years between sending a demand letter and commencing litigation, the limitations

provision swallows the Act. For these reasons, the Court finds that by sending a complaint,

Longhorn and Katana made a new assertion that triggered a new limitations period, which

has not yet run.

C. Adequacy of the Pleadings

       Longhorn and Katana argue that Micron has failed to plead a plausible claim for

bad-faith patent assertion and that the Court must therefore dismiss Microns complaint in

the Longhorn case and counterclaim in the Katana case under Rules 8 and 12(b)(6).

       To escape dismissal under Rule 12(b)(6), a complaint must contain sufficient


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factual matter, accepted as true, to state a claim to relief that is plausible on its face. Iqbal,

556 U.S. at 678 (cleaned up). This facial plausibility standard is met when a complaint

contains factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. Id., citing Twombly, 550 U.S. at 556. Thus,

the issue here is whether Microns complaint contains enough factual content to state a

facially plausible claim that Longhorn and Katana are liable under the Act. The Court

presumes that Longhorn and Katana have asserted their patents in good faith, though this

presumption may be overcome by affirmative evidence. 35 U.S.C.A. § 282; C.R. Bard,

Inc., 157 F.3d at 1369.

       1. Factors for Bad Faith

       The Act allows a court to make a determination of bad faith using factors including

the analysis that led to sending a demand letter, Idaho Code Section 48-1703(2)(a), the

nature of the demand letter and the information it contained, Section 48-1703(2)(b)(c),

the sum of money sought in the demand letter, Section 48-1703(2)(d)(e), the subjective

and objective good faith of the patentee, Section 48-1703(2)(f), the patentees history of

assertion, and any deception present in the assertion. Idaho Code § 48-1703(2)(g)(h).

               a. Section 48-1703(2)(a)

       Under Section 48-1703(2)(a), Micron has pleaded enough facts to support a

conclusion that Katana sent a demand letter without first conducting an adequate analysis

comparing its patents to Microns products. Microns complaint distinguishes the subject

matter of the Katana patents from that of the allegedly infringing Micron products. For

example, the asserted 806 patent covers a semiconductor device sealed with a resin, which


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the allegedly infringing Micron product does not contain, being sealed instead with a

thermoplastic encapsulant. Micron asserts that, had Longhorn and Katana properly

compared the patents against the allegedly infringing products, it would have discovered

such a critical difference.

              b. Section 48-1703(2)(b)(c)

       There is no information in the pleadings about whether the demand letters contained

the patent number, name and address of the patent owner, or the specific areas in which

Microns products infringed on covered claims. Without this information, the factors in

Section 48-1703(2)(b)(c) do not weigh either for or against bad faith.

              c. Section 48-1703(2)(d)(e)

       The pleadings do not mention the sum of money that Longhorn and Katana sought

from Micron in the demand letters. Thus, the factors in Section 48-1703(2)(d)(e) are not

probative either.

              d. Section 48-1703(2)(f)

       Micron has pleaded sufficient facts to support a conclusion that Longhorn and

Katana acted in subjective bad faith. In its initial demand letter, Katana in what can only

be characterized as a thinly-veiled threat . . . pointed out that its . . . patents had been

asserted against other companies. Dkt. 1-4, at 12. When the parties later met at Microns

Boise headquarters, Longhorn communicated that the amounts demanded would increase

as time passed because Longhorn was only just beginning its campaign of seeking licensing

fees from companies based on the Katana portfolio. In [the Longhorns principal]s words,

they were offering Micron an early bird special. Dkt. 1-4, at 1415. Later, Longhorns


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representative suggested that Micron look over the patents in the portfolio of another

Longhorn affiliate, Carthage Silicon Innovations, LLC. Micron took this suggestion to

mean that Longhorn intended to pursue every available avenue to assert patent

infringement claims against Micron, no matter which affiliate held the patents or how

applicable those patents were.

        Further, Micron has pleaded sufficient facts to support a conclusion that Longhorn

and Katanas claims are objectively meritless. Micron pleads that the asserted patents are

invalid. First, according to Microns complaint, the asserted patents have expired. The 879

and 806 patents expired on December 30, 2018, and the 013 patent expired on July 5,

2021.

        Micron further alleges that these patents are invalid because the technology

claimed in [them] was known, discussed in literature, described in other patents, and used

in multiple commercially available products, all prior to the priority dates of the Katana

patents. Dkt. 1-4, at 15. Microns complaint takes pains to list, for each asserted patent,

preexisting inventions and literature describing the same innovations that Longhorn and

Katana claim their patents cover. For example, as early as 1998, Intel Corporation had

developed a semiconductor package with the same key elements as the subject matter of

the 879 patent. Thus, Micron has adequately pleaded that Longhorn and Katana have acted

in objective and subjective bad faith.

              e. Section 48-1703(2)(g)

        Micron has pleaded enough facts to support a conclusion that Longhorn and

Katanas assertion of patent infringement is deceptive. Microns complaint says that


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Longhorn purports to assert claims of ongoing, current infringement for expired

patentsin other words, that it engages in deception. Microns complaint further alleges

that Katana is a mere puppet of Longhorn, which drives the bad-faith patent assertion

through its affiliates. Though Longhorn otherwise portrays itself as a completely separate

entity, it lists its affiliates patent portfolios on its website in a manner suggesting it

considers those patents to be its own assets. The sole manager and member of Longhorn is

also the sole member and manager of each of its affiliates. Longhorn is represented by the

same counsel as Katana and appears to have identical interests. Katana informed Micron

that, to escape liability, it would need to secure licenses from two other Longhorn affiliates:

Hamilcar Barca IP, LLC, and Trenchant Blade Technologies, LLC. On these facts, it is

plausible that Longhorn and Katana have portrayed both their patents and

themselves deceptively.

              f. Section 48-1703(2)(h)

       Micron has pleaded enough facts to indicate that Longhorn and Katana have filed

or threatened to file lawsuits based on a similar claim that was meritless. Micron claims to

have a history with one of Longhorns affiliates, Lone Star Silicon Solutions, LLC, (Lone

Star) who sued Micron for patent infringement in 2016. In that case, the Patent Trial and

Appeal Board ruled the disputed patents were invalidthe covered inventions were not

patentable because the subject matter as a whole would have been obvious to a person of

ordinary skill in the art at the time of the invention of the patents. Dkt. 1-4, at 10. Judge

Alsup, of the Northern District of California, dismissed the district court litigation and

criticized Lone Star for having incorrectly stated that it was the sole owner of the asserted


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patents and having engaged in a litigation gimmick. Dkt 1-4, at 10. Micron agreed to

pay Lone Star a sum in exchange for a promise not to appeal.

       In its Complaint, Micron alleges that Longhorn is a non-practicing entity with a

pattern of asserting patents in bad faith through a network of affiliates. Longhorn and

Katana do not use their patents in commerce. Their only business is litigation. Longhorn

and Katana may have made a substantial investment in purchasing the patents, but it was

not an investment in research or development.

       2. Factors Against Finding Bad Faith

       As factors to consider in finding that the patentee is not acting in bad faith, the Act

lists the patentees good-faith efforts to negotiate an appropriate remedy, Idaho Code

Section 48-1703(3)(a), the patentees investment in the use of the patent or use of it in

manufacturing, Section 48-1703(3)(b), the patentees history of successfully enforcing the

patent in good faith, Section 48-1703(3)(c), and any other factor the court finds relevant.

Idaho Code § 48-1703(3)(d). Because patents are already presumed to be asserted in good

faith, the Court does not consider these factors to be probative and will not analyze them.

See infra section A2(b)(i) (discussing the federal presumption of good faith and its

interplay with the factors in Idaho Code Section 48-1703(3)(a)(d)).

       The bottom line is that Microns complaint pleads enough facts to allow a finding

under the statutory factors that Longhorn and Katana acted in bad faith. This is enough

affirmative evidence, if accepted as true, to overcome the presumption of good faith. Thus,

Micron has stated a claim under the Act and dismissal is inappropriate. For all the reasons

above, Longhorn and Katanas motions to dismiss are DENIED.


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              1. Bond

       As an initial matter, the Court is constitutionally empowered to impose a bond.

When sitting in diversityas this Court is in the Longhorn casefederal courts apply state

substantive law and federal procedural law. Hanna v. Plumer, 380 U.S. 460, 465 (1965).

In Ice Castles, LLC, v. LaBelle Lake Ice Palace, LLC, 2021 WL 3085479, at *3 (D. Idaho

July 21, 2021), the Court declined to wade into the vexing question of whether the Acts

bond provision was substantive or procedural. After a review of similar statutes from other

states, however, the Court is satisfied that the bond is not merely proceduralit is a

substantive provision that discourages bad-faith patent assertion in and of itself.

       North Carolinas equivalent statute, for instance, provides for both damages and a

bond because patent trolls may hold no cash or other assets to pay a damages award and

the state has a strong interest in making sure that prevailing . . . companies sued by abusive

patent assertion[] entities can recover what is awarded to them. N.C. Gen. Stat. § 75-

141(9). The bond provision thus serves a similar purpose to the damages provisions and

furthers the purpose of the statute. Though the Act does not explicitly list such a finding,

the Court is persuaded that the same rationale applies. Further, if the Court were to find

that the provision was procedural, it would create a forum shopping problem: plaintiffs

would favor the state courts where the bond provision was available, while defendants

would favor the federal courts. See Sonner v. Premier Nutrition Corp., 971 F.3d 834, 839

(9th Cir. 2020) (holding that, in distinguishing substantive and procedural laws, courts must

be cognizant of Eries dual aims: discouragement of forum-shopping and avoidance of

inequitable administration of the laws). Because the bond provision is substantive, it is


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within the power of the Court to impose a bond.

       The Act provides the standard for imposing a bond. Idaho Code § 48-1707. If, using

the Section 48-1703 factors, a court determines there is a reasonable likelihood that a patent

is being asserted in bad faith, it must require the party asserting the patent to post a bond

in an amount equal to a good faith estimate of the targets costs to litigate the claim and

amounts reasonably likely to be recovered under the Act. Id.

       Unlike the 12(b)(6) standard, which requires facial plausibility, the Act requires

merely a reasonable possibility. Thus, the Court must determine whether there is a

reasonable possibility that Longhorn and Katana asserted infringement in bad faith.

       Because the higher 12(b)(6) standard has been satisfied, the lower statutory standard

is also necessarily satisfied. The above analysis on the motion to dismiss serves also to

show that, under the Act, a bond is required.

       Micron asserts that the Court should require a bond of $15 million. It reached this

number by using the American Intellectual Property Law Associations report on the cost

of defending patent suits. This report estimates that the cost to litigate against a non-

practicing entity over one patent from motion practice through to appeal is $4,558,000,

assuming that more than $25 million is at stake. Dkt. 15-37, at 17. Micron acknowledges

that Longhorn has not yet made a specific demand for damages. Nevertheless, Micron

relies on this $25-million-plus estimate from the report to calculate that the cost of

defending a three-patent case is $3.75 million. That amount, plus treble damages, brings

its estimate to $15 million.

       There is no reason to find that this estimate is made in bad faith. The Act, however,


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does not obligate the Court to reflexively accept a partys good faith estimatein fact, it

does not specify who, between the parties and the Court, is responsible for making such an

estimate. See Idaho Code § 48-1707 (providing for a bond in an amount equal to a good

faith estimate of the targets costs to litigate the claim and amounts reasonably likely to be

recovered . . .).

       The Court accepts Microns estimate as it relates to litigation over a single patent.

That is, a conservative estimate of litigating a single-patent suit from pre-trial through to

appeal is $1.25 million. The Court rejects, however, the assumption that, by tripling that

sum, one can accurately predict the cost of litigating a three-patent suit. Although patent

litigation does become more expensive the more patents are at issue, there are significant

efficiencies inherent in bundling disputed patents together into a single suit. For instance,

depositions need only be taken oncenot three timesand pleadings likewise need only

be filed once. Thus, for purposes of this suit, the Court finds that the additional two patents

could be reasonably expected to increase Microns cost of litigation by a total of $.75

million. Two million dollars, therefore, is a good-faith estimate of Microns costs to litigate

the claims and an amount reasonably likely to be recovered under the Act. That sum, plus

treble damages, yields an $8 million bond. The Court will impose a bond in that amount.

Microns Motion for Bond is GRANTED.

                                    V. CONCLUSION

       The Court finds that the Act is not preempted by federal law, that its limitations

period has not run, and that Micron has adequately pleaded a claim under it. Accordingly,

the Court will DENY Longhorn and Katanas Motions to Dismiss and GRANT Microns


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Motion for Bond.

                                     IV. ORDER

      1. Longhorns Motion to Dismiss (Case 1:22-cv-00273, Dkt. 7) is DENIED.

      2. Katanas Motion to Dismiss (Case 1:22-cv-00282, Dkt. 27) is DENIED.

      3. Microns Motion for Bond (Case 1:22-cv-00273, Dkt. 3) is GRANTED.

                a. Longhorn or Katana must post a bond of $8 million before the Katana

                    case (1:22-cv-00282) may proceed further.

      4. This order will be entered in both cases.


                                                DATED: May 3, 2023


                                                _________________________
                                                David C. Nye
                                                Chief U.S. District Court Judge




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                            THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO


MICRON TECHNOLOGY, INC., MICRON                        No. 1:22-cv-00273-DCN
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS, LLC.,

                                                        DECLARATION OF DAVID
                    Plaintiffs,
                                                        WESTERGARD IN SUPPORT OF
vs.                                                     MICRONS MOTION FOR BOND
                                                        PURSUANT TO IDAHO CODE
                                                        § 48-1707

LONGHORN IP, LLC

                    Defendant.



        I, David Westergard, declare as follows:

        1.      I am over 18 years of age and am competent to make this declaration. If called to

 testify as a witness, I could and would testify truthfully under oath to each of the statements in

 this declaration. I make each statement below based either on my personal knowledge or, after

 investigation, based on information and belief.

        2.      I am a current employee of Micron Technology, Inc. I collectively refer to

 Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron Technology Texas,

 LLC here as Micron, unless the context dictates otherwise or there is a reason here to

 distinguish between the entities.

        3.      I joined Micron approximately twenty-seven years ago, in March 1995. Since

 then, I have served in many roles, including Chief Counsel, Patent Litigation & Licensing, as

 well as Director, Patent Licensing & European Litigation. I am currently Senior Director,




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Licensing & Litigation. Among other responsibilities, I oversee Microns patent litigation

matters, including oftentimes litigations and assertions by non-practicing entities.

       4.      I hold a Bachelors Degree in Civil Engineering and a Juris Doctor from Brigham

Young University.

       5.      Micron is, in my opinion and by many objective measures, Idahos most

successful technology company. Micron was founded in 1978 as a four-person company in the

basement of a Boise dental office. By 1980, Micron had broken ground on its first fabrication

plant and then, just a few years later, Micron introduced the worlds smallest 256K DRAM

memory product. In 1994, Micron earned a spot in the Fortune 500 and steadily grew into a

world leader for computer memory products. Microns products are used in everything from

cars to appliances to servers to computers.

       6.      More than 45,000 Micron employees across seventeen countries (including more

than 6,000 employees in Idaho) contribute to Microns success. Micron devotes more than $2.5

billion per year to research and development. Micron has obtained one of the worlds largest

patent portfolios over several decades: over 50,000 patents worldwide (approximately 20,000 of

which are currently active). Micron understands that a strong patent system that protects

innovators is a critical feature of strong economies, and Micron respects legitimate intellectual

property rights. Indeed, part of my job is to ensure that Micron does so.

       7.      Longhorn IP, LLC (Longhorn), through Lone Star Silicon Solutions, LLC

(Lone Star), filed an infringement suit against Micron in the Eastern District of Texas in 2016.

Micron achieved success in the Lone Star litigation, particularly in inter partes review (IPR)

proceedings. Longhorn threatened to file appeals, however, and even did file one. Longhorn




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coupled its threats with a less-than-nuisance-value settlement offer. Faced with this offer,

Micron paid Lone Star a small settlement amount in 2019 to make Longhorn go away.

         8.     In August 2018, Katana Silicon Technologies, LLC (Katana) sent Micron a

letter asserting that Micron infringes two of Katanas patents. Although the letter facially came

from Katana, I understood then and understand now that Katana is controlled by Longhorn

and/or the principal behind Longhorn.

         9.     In its August 2018 demand letter, Longhorn did not provide claim charts or other

documents explaining its infringement theory for the two asserted patents, nor did it offer to do

so. In the patent world, such claim charts are the standard way that parties explain their

infringement theories and allow companies to assess the strength of a patentees infringement

claim.

         10.    After the August 2018 demand letter, Longhorn (through Katana) then sent

another letter to Micron on September 18, 2018. As with its first letter, Longhorn did not

provide claim charts or proof of infringement with this letter.

         11.    On October 4, 2018, Longhorn (or Katana) requested a meeting with Micron to

discuss the Longhorn portfolios. As before, Longhorn still did not provide Micron with claim

charts or proof of infringement for any of the 013, 806, or 879 patents.

         12.    Micron hosted Longhorn and its attorneys at Microns Boise campus on

November 14, 2018 to discuss Longhorns allegations relating to the Katana portfolio. The

founder and CEO of Longhorn, Mr. Fekih-Romdhane, traveled to Idaho to attend this November

2018 meeting on behalf of Longhorn, Lone Star, and Katana, along with outside counsel for

Lone Star and Katana.

         13.    Shortly before that meeting, Longhorn finally sent Micron claim charts for the


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three asserted patents, and Longhorn and Katana presented these claim charts at the meeting.

       14.     At the meeting, Micron explained some of the many reasons that Longhorns

assertions of the Katana patents are meritless. Longhorn, for its part, demanded the payment of

license fees or a settlement. Moreover, Longhorn explained that the amount sought would

increase as time passed because Longhorn/Katana was only just beginning its enforcement

campaign. Longhorn referred to this approach as offering Micron an early bird special.

       15.     Longhorn continued to press for payment on the Katana patents during 2019 and

2020. But Micron heard nothing from Longhorn about the Katana patents between October of

2020 and March of 2022.

       16.     In addition to its threats regarding its Katana portfolio, Longhorn has made threats

regarding other portfolios it has owned and/or continues to own. On November 20, 2018, after

the in-person meeting in Boise, Longhorn sent a follow-up email from Mr. Fekih-Romdhane,

where he stated that it might be helpful for Micron to also look at patents from the portfolio of

another Longhorn portfolio entity, Carthage Silicon Innovations, LLC. Although phrased under

the guise of being helpful, I understood this as a further threat.

       17.     Further, Longhorn has now made similar threats regarding two of its other

portfoliosthe Hamilcar and Trenchant Blade portfolioswhich it has said may be of interest

to Micron, in the context of demanding payments from Micron for the Katana portfolio.

       18.     Based on my experience in supervising large, complex patent litigations, as well

as associated IPRs and related follow-on litigations like this Idaho suit, I believe that $3.75

million is a very conservative approximation of the likely costs of litigating issues relating to

Katanas (i.e., Longhorns) three asserted patents through trial, and to a final written decision

from the PTAB in connection with the three IPR proceedings.


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I declare under penalty of perjury that the foregoing is true and correct.



Executed on July 20, 2022.




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 21st day of July, 2022, I electronically filed the foregoing

with the U.S. District Court. Notice will automatically be electronically mailed or served via email

to the following individuals who are registered with the U.S. District Court CM/ECF System:



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                                                     /s/: Daniel Graham




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 SEMICONDUCTOR PRODUCTS, INC., &
 MICRON TECHNOLOGY TEXAS, LLC


                           THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO


MICRON TECHNOLOGY, INC., MICRON              No. 1:22-cv-00273-DCN
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS, LLC.,

                                             PLAINTIFFS MEMORANDUM IN
                   Plaintiffs,               SUPPORT OF THEIR MOTION
                                             FOR BOND PURSUANT TO
v.                                           IDAHO CODE §48-1707

                                             ORAL ARGUMENT REQUESTED

LONGHORN IP, LLC,

                   Defendant.




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memory. Id. Microns products are used in everything from cars to appliances to servers to

computers. Id.

         Micron is an innovator. 45,000+ Micron employees across 17 countries (including >6,000

in Idaho) contribute to Microns success. Id., ¶6. Micron devotes >$2.5 billion per year to research

and development. Id. & Ex. 3.2 As a result, Micron has obtained over 50,000 patents worldwide

and holds one of the worlds largest portfolios. West Dec. ¶6 & Ex. 4. Micron understands that a

strong patent system that protects innovators is a critical feature of strong economies, and Micron

respects legitimate intellectual property rights. West Dec. ¶6.

         The suggestion that Microns success as a company is any way attributable to Longhorn or

its patents, or that these entities should share in Microns success, is not tenable.

B.       Longhorn, Its Portfolio Companies, And Their Practice Of Filing Suits In Texas

         Longhorn is a non-practicing entity (NPE), sometimes called a patent assertion entity

or patent troll. Longhorn produces no products and provides no services. Ex. 5 (describing

itself as a privately owned IP management and patent portfolio licensing company).

         Longhorns pattern and practice is to form a holding company (a portfolio entity),

controlled by Mr. Fekih-Romdhane, and then to have that holding company buy a grouping of

patents that the holding company asserts in its own name. Longhorn lists the following portfolio

entities on its website, and public records provide the principals names and addresses for each:

                Entity                              Principal                           Address
    Katana Silicon Technologies       Khaled Fekih-Romdhane (via              5204 Bluewater Drive
    LLC                               Tanit Ventures, Inc.)                   Frisco, TX 75036
    Trenchant Blade Technologies      Khaled Fekih-Romdhane                   5204 Bluewater Drive
    LLC                                                                       Frisco, TX 75036
    Nyckel UI Technologies LLC        Khaled Fekih-Romdhane (via              5204 Bluewater Drive
                                      Tanit Ventures, Inc.)                   Frisco, TX 75036
    Hannibal IP LLC                   Khaled Fekih-Romdhane                   5204 Bluewater Drive
                                                                              Frisco, TX 75036


2
      All exhibits are attached to the Declaration of Dan Graham.
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               Entity                               Principal                         Address
 Hamilcar Barca IP LLC                Khaled Fekih-Romdhane                   5204 Bluewater Drive
                                                                              Frisco, TX 75036
 Dido Wireless Innovations LLC        Khaled Fekih-Romdhane                   5204 Bluewater Drive
                                                                              Frisco, TX 75036
 Lone Star Silicon Innovations        Christian Dubuc (partner or former 5204 Bluewater Drive
 LLC                                  partner of Mr. Fekih-Romdhane)     Frisco, TX 75036
 L2 Mobile Technologies LLC           Khaled Fekih-Romdhane                   8105 Rasor Blvd., #210
                                                                              Plano, Texas 75024
 Nordic Interactive Technologies      Khaled Fekih-Romdhane (via              8105 Rasor Blvd., #210
 LLC                                  Tanit Ventures, Inc.)                   Plano, Texas 75024
 Ox Mobile Technologies LLC           Khaled Fekih-Romdhane                   8105 Rasor Blvd., #210
                                                                              Plano, Texas 75024
 Carthage Silicone Innovations        Khaled Fekih-Romdhane                   8105 Rasor Blvd., #210
 LLC                                                                          Plano, Texas 75024

Exs. 6-7.

       As is clear from this table and from Longhorns website (which proudly touts these entities

as part of Longhorn), Mr. Fekih-Romdhane controls all of these entities, which share just two

addresses (one of which is Mr. Fekih-Romdhanes home address in Frisco). Id. He does so either

directly himself or through Tanit Ventures, Inc. (Tanit). Ex. 7. Mr. Fekih-Romdhane is Tanits

Director, Organizer, & President, and Tanit is the sole member of Longhorn. Id. at 9, 12-14.

       Like many other NPEs, Longhorn and its entities are formed as Texas LLCs. Ex. 7. This

is not by accident; it is instead part of a calculated plan that, superficially, creates the impression

that Longhorn has sufficient connections with Texas to justify jurisdiction for its suits there.

       NPEs have been drawn to file suits in the Eastern and, more recently, Western Districts of

Texas because, for instance: the judges there have adopted local rules that patent owners perceive

as favorable; times to trial are extremely fast; judges are often disinclined to grant transfer or

dispositive motions; and plaintiffs can often know which judge they will be assigned by the

selection of the division in which they file. E.g., Exs. 8-10. In 2021 alone, 977 patent cases were

filed in Western Texasalmost ¼ of all patent suits filed in the entire USA. Ex. 11. This contrasts



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with, for instance, the District of Idaho, which had only two patent cases filed in 2021. 3 Id.

Longhorn has taken full advantage of this trend. In total, Longhorn has filed 16 patent suits in the

Eastern and Western Districts of Texas through its assertion entities, including all five Katana,

both Trenchant Blade, six Lone Star, half of L2 Mobile, and both Nordic Interactive cases. 4

        Ultimately, Longhorns approach creates pressures that force companies to settle even in

situations where the asserted patents lack merit.

C.      Longhorns History Of Litigation Against Micron

        Longhorns shells include Lone Star, through which Longhorn first targeted Micron in

2016 with a baseless suit filed in the Eastern District of Texas. No. 2:16-cv-1116. There,

Longhorn (through Lone Star) accused Micron of infringing seven patents. Ex. 13. Micron earned

an early victory by securing a transfer to Northern California. Ex. 14. The case was then dismissed

with prejudice by Judge Alsup, who criticized Lone Star for having incorrectly stated that it was

the sole owner of the asserted patents and having engaged in a litigation gimmick. Ex.15, at 11.

        Micron also filed inter partes review (IPR) petitions challenging the validity of all of

Lone Stars asserted claims. An IPR is a procedure to challenge patent validity before the U.S.

Patent & Trademark Offices Patent & Trademark Appeal Board (PTAB). 35 U.S.C. §§311-19.

Although IPRs are generally cheaper than district court litigation, the costs are still sizeable

(particularly when a large number must be filed), and it takes about 18 months to reach a decision,

which is then subject to appeal. 35 U.S.C. §316(a)(11). Moreover, some district courts, including

3
     The reluctance of certain judges in these Texas districts to transfer cases has recently led to
     numerous Federal Circuit mandamus decisions ordering transfer, as well as outcry in the patent
     community and beyond. Ex. 12 (Republican and Democratic senators jointly asking for
     Supreme Court reform to address the extreme concentration of patent litigation in [Western
     Texas] and the unseemly and inappropriate conduct that has accompanied this phenomenon).
4
     Katana cases: Nos. 6:21-cv-074 (Western Digital); 6:19-cv-344 (Samsung); 6:19-cv-695
     (TSMC); 6:22-cv-191 (GlobalFoundries); & 1:22-cv-214 (Micron) (all W.D. Tex.). Trenchant
     Blade cases: Nos. 6:21-cv-67 (Samsung); & 6:21-cv-490 (Intel) (both W.D. Tex.). Lone Star
     cases: Nos. 2:16-cv-1116 (Micron); 2:16-cv-1117 (Nanya); 2:16-cv-1170 (Toshiba); 2:16-cv-
     1216 (UMC); 2:16-cv-1276 (SMIC); & No. 2:16-cv-1438 (Renesas) (all E.D. Tex.). L2 case:
     No. 6:21-cv-358 (Google) (W.D. Tex.). Nordic cases: Nos. 6:20-cv-64 (Samsung); & 6:21-
     cv-438 (LG) (both W.D. Tex.).
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those in Eastern and Western Texas, do not typically stay litigation pending resolution of IPRs, so

a defendant must still litigate while its IPRs are pending. E.g., Ex. 8.

       Micron achieved overwhelming success on its IPRs. For two of the seven asserted patents,

Lone Star conceded before the PTAB could reach a decision, preemptively cancelling challenged

claims. Exs. 16-17. For the other five patents, the PTAB invalidated 50+ challenged claims. See

Exs. 18-23. This means that the PTAB found the challenged claims contained nothing inventive.

       But it took more than three years of fighting and millions of dollars to get to that point.

Not only that, but Longhorn and Lone Star threatened a series of appeals that would have cost even

more to defendand even filed a first one. No. 18-1578 (Fed. Cir.). Longhorn coupled these

threats with a tiny settlement offer that made it nonsensical to keep fighting. West. Dec., ¶7.

       Faced with this offer, Micron paid Lone Star a small settlement amount in 2019. Id.

(amount shown in Ex. 36, filed under seal). This amount was far less than Lone Stars original

demand and was intended to simply make Longhorn go away. West. Dec., ¶7. Micron made this

payment believing that Longhorn would never again have the audacity to file another meritless

suit against Micron. Microns belief proved correct for just three years, until March of 2022.
D.     Having Lost On Its Lone Star Portfolio, Longhorn Again Targets Micron, Now With
       Infringement Claims From Its Katana Portfolio
       On August 22, 2018, Longhorn first contacted Micron about Katana. Ex. 24; West. Dec.,

¶8. The demand letter that Katana sent to Micron explained that Katana has a licensing service

agreement with Longhorn (Ex. 24 at 1; West Dec., ¶8), confirming that Katana is one of

Longhorns many portfolio entities. In that first letter, Katana asked Micron to take a license to

its portfolio and identified two patents that Micron allegedly infringed. Id. In what can only be

characterized as a thinly-veiled threat, Longhorn pointed out that its Katana patents had been

asserted against other companies. Id. ([Katanas] patents have been asserted against major

semiconductor companies in the world. Among the potential licensees are: Toshiba, TSMC, SK

Hynix and NXP.). Longhorn did not provide claim charts or other documents explaining its

infringement theory for the two identified patents at this time, nor did it offer to do so. West. Dec.,


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D.     Longhorns Patent Infringement Claims Against Micron Are Made In Bad Faith And
       Violate Idaho Code §48-1703
       As the above chronology shows, Micron is reasonably likelyfor multiple reasonsto

prove that Longhorn and Katana have brought bad faith infringement claims against Micron.

       First, the Idaho Legislature enacted §48-1701 et seq. to protect Idaho companies (like

Micron) from NPEs exactly like Longhorn. See §48-1701(2). Longhorn, through its portfolio

entities, preys on deep pockets with its parade of demands and threats, nuisance-value

settlements, weak infringement theories, sloppy claims, and assertion of expired patents. In short,

abusive and bad faith assertions of patent infringement that violate, for instance, §§48-

1703(2)(e), (f) (subjective portion), (g), and (i) are Longhorns bread and butter.

       Micron has been in Longhorns crosshairs since 2016. Micron has already spent millions

of dollars defending itself from Longhorns low-rent patentsand with great success in the

process. But fighting Longhorn is like fighting the rising tide. Longhorn has openly threatened to

bring additional claims against Micron through other Longhorn entities like Hamilcar, Carthage,

and Trenchant Blade. It is time that Longhorn be required to be responsible for the ramifications

of its assertions through the posting of the requested bond here.

       Second, Longhorns infringement claims here fail on their face because Longhorn purports

to assert claims of ongoing, current infringement for expired patents. Ex. 1, ¶13. This is a legal

impossibility. Belatedly claiming that this illegal assertion was just a drafting error, see supra,

n.9, does not cure the problem. Assertion of patents in these circumstances cannot satisfy, e.g.,

§48-1703(2)(f) (subjective and objective portions).

       Third, even if Longhorns claims are somehow read to only focus on past conduct between

August (or September) of 2018 and the date that Katana filed its Complainti.e., the time for

which Katana is permitted to seek damagesLonghorns claims here are exceptionally weak as a

technical matter.    Longhorns infringement allegations are facially insufficient to show

infringement of any of the 806, 879, and 013 patents. Longhorn knows, or should know (had it

conducted an appropriate pre-suit investigation), that its infringement theories are meritless. No


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reasonable litigant in Longhorns shoes could realistically expect success on the merits of these

claims, which are both objectively and subjectively in bad faith under §48-1703(2)(f).

       For instance, as discussed above, Katana cannot in good faith suggest that Micron ever

infringed asserted claim 1 of the 806 patent because Microns products are not now and were not

at the relevant time sealed with a resin, as required by the asserted claim. Ex. 25 (claim 1); Steph.

Decl., ¶6. Katana/Longhorn have not, and presumably cannot, show that they tested before suing

to confirm the composition of the accused products consistent with at least §48-1703(2)(i).

       Likewise, Katana also cannot in good faith suggest that Micron ever infringed claim 1 of

the 879 patent because step (d) of the asserted claim does not make sense and is not infringed by

Micron. As discussed above, step (d)like step (a)requires that two separate circuits be formed

on a front surface of the first wafer. Ex. 26 (claim 1). But Katana maps steps (a) and (d) to the

two totally different structures, rather than alleging (much less showing) that there are two circuits

formed on a first wafer in Microns accused products. Assertion of this claim is inconsistent with

the requirements of at least §48-1703(2)(f) (subjective and objective portions), and the meaning of

the asserted claim should not simply be written off as another typo.

       Longhorns allegations for the 013 patent are similarly meritless, including because the

alleged electrically connected wiring pattern and electrically unconnected support pattern are

said to be the same thing, even though this theory directly contradicts the relevant claim language.

Ex. 28 (claim 11, relevant portion quoted above). Just as a single car cannot be both driving and

parked at the same time, a single accused pattern cannot be both electrically connected and

electrically unconnected at the same time. These are mutually exclusiveyet Katana ignores this

distinction in contravention of both the objective and subjective portions of at least §48-1703(2)(f).

       Fourth, Micron repeatedly told Longhorn of the weakness of its patents and allegations on

multiple occasions.     Exs. 29-30; West. Dec., ¶¶13-14.         Micron also met with Longhorn

representatives in a good-faith effort to discuss Longhorns allegations. Id. Nevertheless, on

March 4, 2022, more than three years after these communications and meetings, and after the 806,

879, and 013 patents had long since expired, Longhorn (through Katana) sued in Texas. Ex. 1.
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                      THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO


MICRON TECHNOLOGY, INC., MICRON           No. 1:22-cv-00273-DCN
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS, LLC.,

                                          DECLARATION OF DANIEL
              Plaintiffs,                 GRAHAM IN SUPPORT OF
                                          PLAINTIFFS MEMORANDUM IN
vs.                                       SUPPORT OF THEIR MOTION
                                          FOR BOND PURSUANT TO
                                          IDAHO CODE §48-1707



LONGHORN IP, LLC

              Defendant.




                                                                    GRAHAM DECLARATION
                                      1
                                                           IN SUPPORT OF MOTION FOR BOND



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       I, Daniel Graham, declare as follows:

       1.      I am over 18 years of age and competent to make this declaration. If called to

testify as a witness, I could and would testify truthfully under oath to each of the statements in

this declaration. I make each statement below based on my personal knowledge or after

investigation of the relevant information.

       2.      I am an attorney at Perkins Coie LLP, counsel of record for Plaintiffs Micron

Technology, Inc., Micron Semiconductor Products, Inc., and Micron Technology Texas, LLC

(Defendants or Micron). I am licensed to practice law in the States of Idaho and Colorado.

       3.      I make this Declaration in support of Microns Memorandum in Support of Their

Motion for Bond Pursuant to Idaho Code §48-1707.

       4.      Attached hereto as Exhibit 1 is a true and correct copy of Katana Silicon

Technologies LLCs (Katana) Complaint for Patent Infringement filed in the Western District

of Texas, Austin Division, dated March 4, 2022.

       5.      Attached hereto as Exhibit 2 is a true and correct copy of a timeline titled A

Long-Term Innovation Path from Microns website, from https://www.micron.com/about/our-

company/timeline (last visited July 16, 2022).

       6.      Attached hereto as Exhibit 3 is a true and correct copy of an excerpt from

Microns Form 10-K for the fiscal year ended September 2, 2021. For the Courts convenience,

Microns counsel has highlighted the $2.663 billion figure that Micron reports having spent on

R&D in 2021.

       7.      Attached hereto as Exhibit 4 is a true and correct copy of a press release titled

Micron Marks 50,000 Patents Milestone, dated May 11, 2022.




                                                                                     GRAHAM DECLARATION
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       8.     Attached hereto as Exhibit 5 is a true and correct copy of the home page of

Longhorn IPs website at https://www.longhornip.com/ (last visited July 5, 2022).

       9.     Attached hereto as Exhibit 6 is a true and correct copy of the Portfolios page of

Longhorn IPs website at https://www.longhornip.com/portfolios (last visited July 5, 2022).

       10.    Attached hereto as Exhibit 7 are true and correct copies of the following entity

documents:

              •    Katanas Certificate of Formation, as filed with the Texas Secretary of State,
                   dated May 14, 2018;
              •    Katanas Certificate of Amendment, as filed with the Texas Secretary of
                   State, dated March 11, 2019;
              •    Katanas Certificate of Amendment, as filed with the Texas Secretary of
                   State, dated December 9, 2019;
              •    Longhorn IP, LLCs (Longhorn) Certificate of Formation, as filed with the
                   Texas Secretary of State identifying Khaled Fekih-Romdhane as the
                   Registered Agent and Managing Member of Longhorn, dated April 10, 2016;
              •    Longhorns Texas Franchise Tax Public Information Report, dated May 3,
                   2021;
              •    Tanit Ventures Inc.s (Tanit) Certificate of Formation, identifying Khaled
                   Fekih-Romdhane as Tanits Registered Agent, Director, and Organizer, dated
                   May 9, 2016;
              •    Tanits Certificate of Amendment, dated March 18, 2019;
              •    Carthage Silicon Innovations LLCs (Carthage) Certificate of Formation,
                   dated May 21, 2018;
              •    Carthages Certificate of Amendment, dated March 11, 2019;
              •    Carthages Certificate of Amendment, dated December 9, 2019;
              •    Dido Wireless Innovations LLCs (Dido) Certificate of Formation, dated
                   March 1, 2022;
              •    Hamilcar Barca IP LLCs (Hamilcar) Certificate of Formation, dated
                   November 24, 2021;
              •    Hannibal IP LLCs (Hannibal) Certificate of Formation, dated April 20,
                   2021;
              •    L2 Mobile Technologies LLCs (L2) Certificate of Formation, dated
                   December 7, 2016;

                                                                                  GRAHAM DECLARATION
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     •   L2s Statement of Change of Registered Agent, dated August 3, 2021;
     •   L2s Acceptance of Appointment and Consent to Serve as Registered Agent,
         dated July 29, 2021;
     •   Lone Star Silicon Innovations LLCs (Lone Star) Certificate of Formation,
         dated July 7, 2016;
     •   Nordic Interactive Technologies LLCs (Nordic) Certificate of Formation,
         dated April 19, 2018;
     •   Nordics Certificate of Amendment, dated March 11, 2019;
     •   Nordics Certificate of Amendment, dated December 9, 2019;
     •   Nyckel UI Technologies LLCs (Nyckel) Certificate of Formation, dated
         January 4, 2019;
     •   Nyckels Certificate of Amendment, dated March 11, 2019;
     •   Nyckels Certificate of Amendment, dated December 9, 2019;
     •   Nyckels Statement of Change of Address of Registered Agent, dated August
         3, 2021;
     •   Nyckels Acceptance of Appointment and Consent to Serve as Registered
         Agent, dated July 29, 2021;
     •   Ox Mobile Technologies LLCs (Ox Mobile) Certificate of Formation,
         dated December 15, 2016;
     •   Ox Mobiles Texas Franchise Tax Public Information Report, dated May 10,
         2021;
     •   Taijitu Ventures Inc.s (Taijitu) Certificate of Formation, dated May 9,
         2016;
     •   Taijitus Certificate of Amendment, dated November 22, 2019;
     •   Taijitus Statement of Change of Address of Registered Agent, dated July 8,
         2019;
     •   Taijitus Statement of Change of Address of Registered Agent, dated
         February 20, 2019;
     •   Trenchant Blade Technologies LLCs (Tenchant) Certificate of Formation,
         dated January 8, 2020;
     •   Trenchants Texas Franchise Tax Public Information Report, dated May 1,
         2021;
     •   Denton County, Texas CAD sheet showing that 5204 Bluewater Driver,
         Frisco, Texas 75036 is a residence owned by Khaled Fekih-Romdhane.



                                                                        GRAHAM DECLARATION
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For the Courts convenience, Microns counsel has highlighted some of the pertinent information

in these documents.

         11.   Attached hereto as Exhibit 8 is a true and correct copy of an article titled Move

Over Marshall, Theres a New Sherriff in TownThe Rise of Waco and the Western District of

Texas by Ronald S. Lemieux and Steven M. Auvil, National Law Review, Volume XI, Number

87, from https://www.natlawreview.com/article/move-over-marshall-there-s-new-sheriff-town-

rise-waco-and-western-district-texas (last visited July 16, 2022.

         12.   Attached hereto as Exhibit 9 is a true and correct copy of an article titled Guest

Post: How it Started   How Its Going: Venue Transfers in the Western District of Texas, by

Jason Rantanen, PATENTLYO, dated October 28, 2021, from

https://patentlyo.com/patent/2021/10/startedhow-transfers-district.html (last visited June 30,

2022).

         13.   Attached hereto as Exhibit 10 is a true and correct copy of an article titled Judge

Gilstrap Keeps Eastern Districts Tight Ship Afloat, by Jess Krochtengel, Law 360, dated

March 6, 2015, from https://www.law360.com/articles/628732/print?section=ip (last visited June

30, 2022).

         14.   Attached hereto as Exhibit 11 is a true and correct copy of a report from

LexMachina titled All Court Case Filings by Year, Patent Cases Filed by Year for the past ten

years, from https://law.lexmachina.com/court/table?case_type=27. For the Courts convenience,

Microns counsel has highlighted some of the pertinent information in this document.

         15.   Attached hereto as Exhibit 12 is a true and correct copy of a letter from United

States Senators Thom Tillis and Patrick Leahy to The Honorable Chief Justice John Roberts of




                                                                                    GRAHAM DECLARATION
                                                 5
                                                                           IN SUPPORT OF MOTION FOR BOND




                                             Add76
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the United States Supreme Court regarding issues with forum shopping in patent litigation, dated

November 2, 2021.

        16.   Attached hereto as Exhibit 13 is a true and correct copy of Lone Star Silicon

Innovations LLCs (Lone Star) Complaint for Patent Infringement filed against Micron in the

Eastern District of Texas, Marshall Division, on October 7, 2016.

        17.   Attached hereto as Exhibit 14 is a true and correct copy of United States

Magistrate Judge Roy S. Paynes Order Granting Microns Motion to Transfer from the Eastern

District of Texas to the Northern District of California in Case No. 2:16-cv-01116-JRG-RSP,

dated August 24, 2017.

        18.   Attached hereto as Exhibit 15 is a true and correct copy of District Judge William

Alsups Order Granting Motions to Dismiss Lone Stars patent infringement action for lack of

standing in the Northern District of California, in Case No. 17-05458 WHA, dated January 20,

2018.

        19.   Attached hereto as Exhibit 16 is a true and correct copy of the Patent Trial and

Appeal Boards Decision Granting Motion for Adverse Judgment pursuant to 37 C.F.R. § 42.73

in Case No. IPR2017-01565, regarding United States Patent No. 6,326,231, dated June 25, 2018

(Paper No. 15).

        20.   Attached hereto as Exhibit 17 is a true and correct copy of the Patent Trial and

Appeal Boards Decision Granting Motion for Adverse Judgment pursuant to 37 C.F.R. § 42.73

in Case No. IPR2017-01630, regarding United States Patent No. 5,872,038, dated June 25, 2018

(Paper No. 13).

        21.   Attached hereto as Exhibit 18 is a true and correct copy of the Patent Trial and

Appeal Boards Final Written Decision pursuant to 35 U.S.C. § 318 and 37 C.F.R. § 42.73 in


                                                                                  GRAHAM DECLARATION
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                                                                         IN SUPPORT OF MOTION FOR BOND




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                                                              Page 7 of 10




Case No. IPR2017-01561, regarding United States Patent No. 5,912,188, dated December 12,

2018 (Paper No. 34).

       22.    Attached hereto as Exhibit 19 is a true and correct copy of the Patent Trial and

Appeal Boards Final Written Decision pursuant to 35 U.S.C. § 318 and 37 C.F.R. § 42.73 in

Case No. IPR2017-01560, regarding United States Patent No. 5,912,188, dated December 12,

2018 (Paper No. 41).

       23.    Attached hereto as Exhibit 20 is a true and correct copy of the Patent Trial and

Appeal Boards Final Written Decision Determining that Claims 1, 3-6, 11 and 13-16 Are

Proven Unpatentable pursuant to 35 U.S.C. § 318(a) in Case No. IPR2017-01562, regarding

United States Patent No. 6,097,061, dated December 13, 2018 (Paper No. 30).

       24.    Attached hereto as Exhibit 21 is a true and correct copy of the Patent Trial and

Appeal Boards Final Written Decision Finding Claims 1-5, 8-12, and 15 Unpatentable pursuant

to 35 U.S.C. § 318(a) in Case No. IPR2017-01563, regarding United States Patent No.

6,103,611, dated December 17, 2018 (Paper No. 29).

       25.    Attached hereto as Exhibit 22 is a true and correct copy of the Patent Trial and

Appeal Boards Final Written Decision pursuant to 35 U.S.C. § 318 and 37 C.F.R. § 42.73 in

Case No. IPR2017-01566, regarding United States Patent No. 6,388,330, dated January 14, 2019

(Paper No. 24).

       26.    Attached hereto as Exhibit 23 is a true and correct copy of the Patent Trial and

Appeal Boards Final Written Decision pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73 in

Case No. IPR2017-01597, regarding United States Patent No. 6,023,085, dated January 16, 2019

(Paper No. 26).




                                                                                  GRAHAM DECLARATION
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                                                                         IN SUPPORT OF MOTION FOR BOND




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        27.    Attached hereto as Exhibit 24 is a true and correct copy of a letter from Jason

Wejnert of SpencePC to Microns former General Counsel, Joel L. Poppen, dated August 22,

2018.

        28.    Attached hereto as Exhibit 25 is a true and correct copy of United States Patent

No. RE38,806, issued to Fukui, et al. on October 4, 2005. For the Courts convenience,

Microns counsel has highlighted the application date on the cover page of this document.

        29.    Attached hereto as Exhibit 26 is a true and correct copy of United States Patent

No. 6,352,879, issued to Fukui, et al. on March 5, 2002. For the Courts convenience, Microns

counsel has highlighted in the application date on the cover page of this document.

        30.    Attached hereto as Exhibit 27 is a true and correct copy of a letter from Jason

Wejnert of SpencePC to Microns former General Counsel, Joel L. Poppen, dated September 18,

2018.

        31.    Attached hereto as Exhibit 28 is a true and correct copy of United States Patent

No. 6,731,013, issued to Juso, et al. on May 4, 2004. For the Courts convenience, Microns

counsel has highlighted in the application date on the cover page of this document.

        32.    Attached hereto as Exhibit 29 is a true and correct copy of an email thread with

the topmost email from Jason Wejnert to David Westergard, sent October 19, 2018. For the

Courts convenience, Microns counsel has highlighted some of the pertinent information in the

document. Micron has also omitted the attachment to this exhibit.

        33.    Attached hereto as Exhibit 30 is a true and correct copy of an email thread with

the topmost email from David Westegard to William Cory Spence of SpencePC, sent February 4,

2019.




                                                                                   GRAHAM DECLARATION
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                                                                          IN SUPPORT OF MOTION FOR BOND




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                                                              Page 9 of 10




       34.        Attached hereto as Exhibit 31 is a true and correct copy of an email thread with

the topmost email from Khaled Fekih-Romdhane to David Westegard, sent November 20, 2018.

       35.        Attached hereto as Exhibit 32 is a true and correct copy of Katanas Response in

Non-Opposition to Microns Motion to Transfer, filed in Case No. 1:22-cv-00214-LY, in the

Western District of Texas, Austin Division, dated July 6, 2022.

       36.        Attached hereto as Exhibit 33 are true and correct copies of excerpts from 5A

Chisum on Patents § 18.03. For the Courts convenience, Microns counsel has highlighted the

portions of this document referenced in its Memorandum.

       37.        Attached hereto as Exhibit 34 are true and correct copies of excerpts from the

American Intellectual Property Law Associations 2021 Report of the Economic Survey.

       38.        Attached hereto as Exhibit 35 is a true and correct copy of an article titled IPRs:

Balancing Effectiveness vs. Cost, RPX Rational Patent, dated June 17, 2016, from

https://www.rpxcorp.com/intelligence/blog/iprs-balancing-effectiveness-vs-cost/ (last visited

July 20, 2022).

       39.        Attached hereto as Exhibit 36 is a true and correct copy of Settlement and Patent

License Agreement between Lone Star and Micron, dated March 4, 2019. This exhibit is being

filed under seal. For the Courts convenience, Microns counsel has highlighted the monetary

amount found in section 4.1 of this document.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on July 20, 2022 in Honolulu, Hawaii.



                                                             ________________________________

                                                                                       Daniel Graham


                                                                                       GRAHAM DECLARATION
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                                                                              IN SUPPORT OF MOTION FOR BOND




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                    EXHIBIT 5




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                                              Documen1146ie$Larlg~611 Filed: 07/14/2023
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                     EXHIBIT 7




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                                                        Texas Franchise Tax Public Information Report
~ Comptroltor 05-102                              To be filed by Corporations, Limited Liability Companies (LLC) and Financial Institutions
~           of Public       (Rev.9-11/30)            This report MUST be signed and filed to satisfy franchise tax requirements
     11
                            ■ Tcode 13196 Franchise
■    Taxpayer number                                                            ~■-R_e.;.p_o_rt..;.,y~ea_r~-~ You have certain rights under Chapter 552 and 559, Government Code,
                                                                                                               to review, request, and correct information we have on file about you.
     3 2 0 6 0 1 4 2 1 9 0                                                           2     0 2            1    Contact us at (800) 252-138/or (512) 463-4600.
 Taxpayer name
                             LONGHORN IP LLC
 Mailing address                                                                                                                                      Secretary of State (SOS) file number or
1-=------8_1_0_5_RA
                 __S_O_R_B_L_V_D_S_T_E~2~1_0________~~~--~~-------1comptroller file number
 City                                                           State                                    ZIP Code             Plus 4
                                     PLANO                                     TX                             75024                                                     0802432859
•          Blacken circle if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, Band C.

 Principal office
                            5204 BLUEWATER DR FRISCO, TX 75036 9313
 Principal place of business
                             5204 BLUEWATER DR FRISCO, TX 75036 9313
                 ,      .   1, ,/_     Officer, director and manager information is reported as of the date a Publi c Information
 f'Ullll 11(11 ;/ull".I                Report is completed. The information is updated annually as part of the franchise tax
 -                              -      report. There is no requirement or procedure for supplementing the information as
                                       officers, directors, or managers change throughout the year.
                                                                                                                                                       111111111111111111 11111111111111111111111111111111111111111111
 SECTION A Name, title and mailing address of each officer, director or manager.                                                                                    3206014219021
 Name                                                                        Title                                            Director                              m        m        d         d       y       y

                                                                                                                              Q                Term       I
     TANIT VENTURES INC                                                                       MEMBER                               YES
                                                                                                                                               expiration                I        I        I        I       I
 Mailing address                                                             City                                                             State                               IZIP Code
     5204 BLUEWATER DRIVE                                                                                FRISCO                                            TX                                  75034
 Name                                                                        Title                                            Director                              m        m        d         d       y       y

                                                                                                                              Q    YES         Term
                                                                                                                                               expiration
                                                                                                                                                          I
                                                                                                                                                                         I        I        I        I       I
 Mailing address                                                             City                                                             State                               IZIP Code

 Name                                                                        Title                                            Director                              m        m        d         d       y       y

                                                                                                                              Q    YES         Term       I
                                                                                                                                               expiration                I        I        I        I       I
 Mailing address                                                             City                                                             State                               IZIP Code

 SECTION B Enter the information required for each corporation or LLC, if any, in which this entity owns an interest of 1O percent or more.
 Name of owned (subsidiary) corporation or limited liability company                              State of formation              Texa s SOS file number, if any Percentage of ownership

 Name of owned (subsidiary) corporation or limited liability company                              State of formation              Texas SOS file number, if any Percentage of ownership


 SECTION C Enter the information required for each corporation or LLC, if any, that owns an interest of 1O percent or more in this entity or limited
           liability company.
 Name of owned (parent) corporation or limited liability company                                  State of formation              Texas SOS file number, if any Percentage of ownership


 Registered agent and registered office currently on file. (see instructions if you need to make changes)                              Blacken circle if you need forms to change
 Agent:      KHALED FEKIH ROMDHANE                                                                                            0        the registered agent or registered office information.

 Office:     5204 BLUEWATER DRIVE                                                                                        FRISCO                            !State     TX               IZIP c~%l>34

 The above information is required by Section 171.203 of the Tax Code for each corporation or limited liability company that files a Texas Franchise Tax Report. Use additional sheets
 for Sections A, B, and C, if necessary. The information will be available for public inspection.
 I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has
 been mailed to each person named in this report who is an officer, director or manager and who is not currently employed by this, or a related, corporation or limited liability company.
 Sign ~                                                                                  ITitle                            pate                                 IArea code and phone number
 nere,        MARWAN KASSIM                                                                         Electronic            I        05-03-2021                     ( 281 ) 248 - 1683

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!Secretary of State                                                                                                                                                                                  Filed in the Office of the
!P.O. Box 13697                                                                                                                                                                                   Secretary of State of Texas
!Austin, TX 78711-3697                                                                                                                                                                        Filing #: 802453941 05/09/2016
!FAX: 512/463-5709                                                                                                                                                                                Document #: 669901600002
                                                                                              Certificate of Formation                                                                       Image Generated Electronically
!Filing Fee: $300
                                                                                               For-Profit Corporation                                                                                           for Web Filing
                                                                                                    Article 1 - Entity Name and Type
iT he filing entity being formed is a for-profit corporation. The name of the entity is:

iTANIT VENTURES INC
  he name must contain the word "corporation ," "company," "incorporated ," "limited ," or an abbreviation of one of these terms. The name must not
be the same as, deceptively similar to or similar to that of an existing corporate, limited liability company, or limited partnership name on file with
1besecretary of state. A preliminary check for''name .availability .. .isrecommended.
I                                                                            Article 2 - Registered Agent and Registered Office
l□A . The initial .registered .agent .is .an .organization .(cannot .be .corporation .named .above)by the .name of:
[ .............................................................................................................................................................................................................................................................................I

                                                                                                                                        OR
IRJB. The                  initial registered agent is an individual resident of the state whose name is set forth below:
 Name:
 KHALED                              FEKIH-ROMDHANE
jc . The business address of the registered agent and the registered office address is:
       treet Address:
 5204 BLUEWATER DR                                                            FRISCO TX 75034
                                                                                                        Consent of Registered Agent
 D A. A copy of the consent of registered agent is attached .
                                                            OR
jli'lB. The consent of the registered agent is maintained by the entity.
                                                   Article 3 - Directors
  he number of directors constituting the initial board of directors and the names and addresses of the person or
 persons who are to serve as directors until the first annual meeting of shareholders or until their successors are
 elected and qualified are set forth below:
!Director 1: KHALED FEKIH-ROMDHANE
F ddress: . 5204°B( UEVVATERM
                      1
                            DR) ..... FRISCO W
                                             T}( USAW75034
                                                                                                        Article 4 - Authorized Shares
   he total number of shares the corporation is authorized to issue and the par value of each of such shares, or a
 statement that such shares are without par value , is set forth below.
INumberof Shares                                                   !Par Value (must choose and complete either A or B)



 1···0····0···0···
1.
                                                                   !!□
                                                                     MA.  has a par value of $1
                                                                       B. without par value .
 If the shares are to be divided into classes, you must set forth the designation of each class, the number of shares of each class, and the par value
 (or statement of no par value) , of each class. If shares of a class are to be issued in series, you must provide the designation of each series. The
 preferences, limitations, and relative rights of each class or series must be stated in space provided for supplemental information.
                                                                                                                     Article 5 - Purpose
  he purpose for which the corporation is organized is for the transaction of any and all lawful business for which
 corporations may be organized under the Texas Business Organizations Code .
                                                                                            Supplemental Provisions/ Information
     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..

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 [The attached addendum , if any, is incorporated herein by reference.]




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                                                                        Page 14 of 77



                                               Effectiveness of Filing
r A. This document becomes effective when the document is filed by the secretary of state.
                                                          OR
   B. This document becomes effective at a later date, which is not more than ninety (90) days from the date of its
 igning. The delayed effective date is: May 10, 2016
                                                       Organizer
iT he name and address of the organizer is set forth below.
iKHALED FEKIH-ROMDHANE                        5204 BLUEWATER DR FRISCO TX 75034
                                                      Execution
rThe undersigned affirms that the person designated as registered agent has consented to the appointment. The
undersigned signs this document subject to the penalties imposed by law for the submission of a materially false or
~raudulent instrument and certifies under penalty of perjury that the undersigned is authorized under the provisions of
law governing the entity to execute the filing instrument.

KHALED FEKIH-ROMDHANE
Signature of organizer

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                    EXHIBIT 13




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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


LONE STAR SILICON INNOVATIONS LLC,                  Civil Action No. 2:16-cv-1116

       Plaintiff,
V.
                                                    JURY TRIAL DEMANDED

MICRON TECHNOLOGY, INC.,
MICRON SEMICONDUCTOR PRODUCTS,
INC.,
MICRON CONSUMER PRODUCTS GROUP,
INC., and
MICRON MEMORY JAPAN, INC.

       Defendants.


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Lone Star Silicon Innovations LLC ("Lone Star"), complains against

Defendants Micron Technology, Inc., Micron Semiconductor Products, Inc., Micron Consumer

Products Group, Inc., and Micron Memory Japan, Inc. (individually or collectively "Defendants"

or "Micron") as follows:

                                    NATURE OF ACTION

       1.      This is an action for patent infringement of United States Patent Nos. 5,872,038;

5,912,188; 6,023,085; 6,097,061; 6,103,611; 6,326,231 and 6,388,330 (collectively, the "Patents

in Suit") under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.

                                         THE PARTIES

       2.      Plaintiff Lone Star is a corporation organized and existing under the laws of the

State of Texas with its principal place of business at 8105 Rasor Blvd., Suite 210, Plano, TX




                                            Add240
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75024. Lone Star is in the business oflicensing patented technology. Lone Star is the assignee of

the Patents in Suit.

        3.      Defendant Micron Technology, Inc. ("MTI") is a corporation incorporated under

the laws of Delaware with its principal place of business at 8000 South Federal Way, Boise,

Idaho 83707. Micron and/or its subsidiaries also maintain offices in Allen, Texas 75031 and

Round Rock, Texas 78681. Defendant MTI conducts business in and is doing business in Texas

and in this District and elsewhere in the United States, including, without limitation, using,

promoting, offering to sell, importing and/or selling memory devices and/or devices that

incorporate memory devices that embody the patented technology, and enabling end-user

purchasers to use such devices in this District.

        4.      Defendant Micron Semiconductor Products, Inc. ("MSP") is an Idaho corporation

with a principal place of business at 3475 E. Commercial Ct., Meridian, Idaho 83642. MSP's

registered agent for service of process in the State of Texas is Corporation Service Company,

211 E. 7th Street, Suite 620, Austin, TX 78701-3218. On information and belief, MSP is a

wholly-owned subsidiary of MTI. Defendant MSP conducts business in and is doing business in

Texas and in this District and elsewhere in the United States, including, without limitation, using,

promoting, offering to sell, importing and/or selling memory devices and/or devices that

incorporate memory devices that embody the patented technology, and enabling end-user

purchasers to use such devices in this District.

        5.      Defendant Micron Consumer Products Group, Inc. ("MCPG") is a Delaware

corporation with its principal place of business at 47300 Bayside Parkway, Fremont, California

94538. On information and belief, MCPG is a wholly-owned subsidiary of MTI. On information

and belief, Defendant MCPG conducts business in and is doing business in Texas and in this



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                                                      Filed: 07/14/2023
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District and elsewhere in the United States, including, without limitation, using, promoting,

offering to sell, importing and/or selling memory devices and/or devices that incorporate

memory devices that embody the patented technology, and enabling end-user purchasers to use

such devices in this District.

        6.        Defendant Micron Memory Japan, Inc. is a corporation with a principal place of

business at Sumitomo Seimei Yaesu Bldg., 3F, 2-1 Yaesu 2-chome, Chuo-ku, Tokyo 104-0028,

Japan. On information and belief, Micron Memory Japan, Inc. is a wholly-owned subsidiary of

Micron. Before it was acquired by Micron, Micron Memory Japan, Inc. was known as Elpida

Memory, Inc. Micron Memory Japan, Inc., and Elpida Memory, Inc. are referred to collectively

herein as "Micron Japan." Micron Japan is the parent company of Micron Akita, Inc., with a

principal place of business at 89-2, Yamada, Yuwaishida, Akita-shi, Akita 010-1222, Japan

("Micron Akita"). Micron Akita, Inc. supplies Micron Japan and MTI with memory devices

and/or devices that incorporate memory devices that embody the patented technology. On

information and belief, Micron Japan manufactures and sells memory devices and/or devices that

incorporate memory devices that embody the patented technology and also sells such DRAM

semiconductor devices manufactured by foundries such as Micron Taiwan, and Micron Akita.

       7.         Upon information and belief, MTI controls and is the majority owner of the other

Defendants, and Defendants are joint tortfeasors with one another with respect to the matters

alleged herein.

                                  JURISDICTION AND VENUE

        8.        This action arises under the Patent Laws of the United States, Title 35 of the

United States Code. This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338(a).



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                                              Add242
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                                                         Page 1 of 12




                    EXHIBIT 15




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                 6                           IN THE UNITED STATES DISTRICT COURT
                 7
                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                10   IN RE LONE STAR SILICON                                    No.   C   17-03980 WHA
        .....
         (lj         INNOVATIONS LLC                                            No.   C   17-03981 WHA

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        µ.      18                                          INTRODUCTION

                19          Defendants in six related patent infringement actions move to dismiss on the basis that

                20   plaintiff in all six lacks standing. To the extent stated below, the motions are GRANTED.

                21                                            STATEMENT

                22          The essence of this problem is that the patent owner tried to find a way to shield itself

                23   from counterclaims while retaining a way to reap the monetary benefits of suing competitors

                24   and others for infringement of its patents. Its mechanism for that neat trick was a "patent

                25   transfer agreement" that seemed to include the magic wording required to authorize a non-

                26   practicing entity to sue. But other wording in the same agreement subtracted from those

                27   provisions and thus rendered the agreement insufficient to sustain standing for the non-

                28   practicing entity under Federal Circuit law.

                                                    *                *                    *



                                                           Add310
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                 1          In the six above-captioned actions, plaintiff Lone Star Silicon Innovations LLC, a non-

                 2   practicing entity with its principal place of business in Plano, Texas, asserts claims for patent

                 3   infringement against Semiconductor Manufacturing International Corporation, Semiconductor

                 4   Manufacturing International (Shanghai) Corporation, Semiconductor Manufacturing

                 5   International (Beijing) Corporation, and SMIC, Americas (collectively, "SMIC"); Renesas

                 6   Electronics Corporation and Renesas Electronics America Inc. (collectively, "Renesas"); Nanya

                 7   Technology Corporation, Nanya Technology Corporation, U.S.A., and Nanya Technology

                 8   Corporation Delaware (collectively, "Nanya"); United Microelectronics Corporation and UMC

                 9   Group (USA) (collectively, "UMC"); Toshiba Corporation, Toshiba America, Inc., and Toshiba

                10   America Electronic Components, Inc. (collectively, "Toshiba"); and Micron Technology, Inc.,
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         a      11   Micron Semiconductor Products, Inc., Micron Consumer Products Group, Inc., and Micron

==:.:::         12   Memory Japan, Inc. (collectively, "Micron"). These actions originated in the Eastern District of
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                13   Texas and transferred to our district in mid-2017.
-~ ,::i         14          Lone Star currently asserts the following patents against each group of defendants:
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                15           •       SMIC - 5,973,372 ("the '372 patent") and 6,388,330 ("the '330
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                                     patent")
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                             •       Renesas- 6,153,933 and the '330 patent
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                             •       Nanya- 6,097,061 ("the '061 patent") and the '330 patent
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        µ.      18
                             •       UMC-the '372 patent and the '330 patent
                19
                             •       Toshiba-5,912,188 ("the '188 patent"), 6,023,085 ("the '085
                20                   patent"), the '330 patent, and RE39,518

                21           •       Micron-the '188 patent, the '085 patent, the '061 patent, and the
                                     '330 patent
                22
                     Each of the patents-in-suit originally issued to Advanced Micro Devices, Inc., a multinational
                23
                     semiconductor company based in Sunnyvale, California. On August 4, 2016, AMD and Lone
                24
                     Star entered into a patent transfer agreement that encompassed various patents, including the
                25
                     patents-in-suit, and executed an assignment for those patents. The complaint in each of the six
                26
                     above-captioned actions alleges that Lone Star is the "assignee" and "sole owner" of the
                27
                     patents-in-suit. Lone Star, however, did not produce the patent transfer agreement until October
                28
                     2017-months after the actions commenced.

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                                                           Add311
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                 1           Section 2.1 of the patent transfer agreement gave Lone Star "all right, title and interest

                 2   in, to and under the Assigned Patents ... including any and all inventions and discoveries

                 3   claimed therein, any and all legal rights entitled by the original owner of the Assigned Patents

                 4   and all rights of AMD to sue for past, present and future infringement of any and all of the

                 5   Assigned Patents." In exchange, Section 5.1 gave AMD 35 to 50 percent of the proceeds from

                 6   Lone Star's "monetization efforts." No provision in the patent transfer agreement addressed

                 7   Lone Star's right (or lack thereof) to practice the patents-in-suit.

                 8          Despite the broad language of Section 2.1, other provisions in the same agreement

                 9   substantially curtailed Lone Star's rights. For example, Section 4.1 gave AMD "a fully paid up,

                10   irrevocable, worldwide, transferable, non-exclusive, license under the Assigned Patents to use,
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         a      11   develop, copy, modify, import, make and have made, offer for sale, sell, lease, import, export,

==:.:::         12   distribute, demonstrate, display, transfer and/or otherwise exploit or dispose of [its] Licensed
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                13   Products," which includes "all of its software, hardware, products, designs, services, and
-~ ,::i         14   activities." Section 2.3 further required Lone Star to comply with "Existing Encumbrances"
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                15   and "to make any and every future sale, transfer, assignment, lien, mortgage or other
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rij '€          16   encumbrance of the Assigned Patents subject to the Existing Encumbrances and the license and
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         (1)    17   other rights granted under Section 4," with "Existing Encumbrances" broadly defined as:
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        µ.      18                   (a) pre-existing patent licenses, covenants not to assert, promises
                                     or agreements to license, and/or similar patent immunities; (b)
                19                   rights to renew or extend pre-existing patent licenses exercised
                                     unilaterally by third parties (such as legally binding options); (c)
                20                   releases for past infringement; and/or (d) pre-existing
                                     commitments related to AMD's or its Affiliates' standardization
                21                   activities or patent pool activities, and other pre-existing
                                     specification-related or standards-related licenses, covenants and
                22                   promises of AMD or any of its Affiliates, which, in each of (a),
                                     (b), (c) and (d), shall transfer in connection with the transfer of the
                23                   Assigned Patent(s) and/or which AMD or any of its Affiliates has
                                     committed to maintain in connection with the transfer of such
                24                   Assigned Patent(s).

                25           Section 2.6 further restricted Lone Star's ability to transfer the patents-in-suit:

                26                   Any assignment of an Assigned Patent in violation of this Section
                                     2.6 shall be void ab initio. Lone Star will not transfer ownership
                27                   of any of the Assigned Patents unless: (a) all Assigned Patents are
                                     transferred collectively; (b) the proposed successor-in-interest
                28                   agrees to be bound by this Agreement (with the successor-in-
                                     interest taking the place of Lone Star for all purposes of this

                                                                         3

                                                            Add312
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                 1                      Agreement) including, but not limited to, obtaining ownership of
                                        any of the Assigned Patents subject to any and all Existing
                 2                      Encumbrances, in writing enforceable by AMD and with a copy
                                        provided to AMD; and (c) AMD provides its written consent to the
                 3                      transfer, which shall not be umeasonably withheld.

                 4            Finally, Section 6.2(f) explicitly limited Lone Star's enforcement rights to specific

                 5   "Unlicensed Third Party Entities" listed in Exhibit E to the patent transfer agreement:

                 6                      Lone Star acknowledges that the Assigned Patents are subject to
                                        Existing Encumbrances to other Persons and that Lone Star
                 7                      represents and warrants that it shall not commence, direct or
                                        control any legal action seeking to enforce and/or licensing activity
                 8                      asserting any of the Assigned Patents against a Person that is ( 1)
                                        not an Unlicensed Third Party Entity or Affiliate thereof, or (2) is a
                 9                      distributor, reseller, or direct or indirect customer with respect to
                                        materials, devices, software or firmware, services or products that
                10                      are used, made or supplied directly or indirectly by or for a Person
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         (lj                            that is not an Unlicensed Third Party Entity.

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                      Section 3.3(c) added that "[t]he Parties shall cooperate in good faith in attempting to identify
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                      additional third-parties that the Parties may agree, at each 's sole discretion, to add to the

                      Exhibit E list of Unlicensed Third Party Entities" (emphasis added).
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r,:iQ                         After receiving the patent transfer agreement, all defendants moved to dismiss on the
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                      basis that Lone Star had no standing to sue thereunder. This order follows full briefing in each
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                      of the above-captioned actions (i.e., eighteen briefs in total) and oral argument. 1
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                                                                        ANALYSIS
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                              The question of standing is jurisdictional. Rite-Hite Corp. v. Kelley Co., Inc., 56 F .3d
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                      1538, 1551 (Fed. Cir. 1995). The party bringing the action bears the burden of establishing it
                20
                     has standing. Sicom Sys., Ltd. v. Agilent Techs., Inc., 427 F.3d 971, 975-96 (Fed. Cir. 2005)
                21
                      (citation omitted). The Federal Circuit has recognized three general categories of plaintiffs in
                22
                      analyzing the standing issue in patent infringement actions. First, a patentee or assignee of "all
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                      rights or all substantial rights" under the patent can sue in its own name alone. Second, an
                24
                      exclusive licensee or other party with exclusionary rights -            but not "all substantial rights" -
                25
                      can sue, but must usually join the patentee to avoid "the potential for multiple litigations and
                26
                     multiple liabilities and recoveries against the same alleged infringer." Joinder also "protects the
                27

                28            1 In Case No. 17-5458, Micron styled its motion as one for judgment on the pleadings. That motion, however,

                     seeks the same relief as the other defendants' motions to dismiss and thus receives no separate treatment herein.

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                                                                  Add313
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                 1   patentee from losing substantial rights if its patent claims are invalidated or the patent rendered

                 2   unenforceable in an action in which it did not participate." Luminara Worldwide, LLC v. Liown

                 3   Elecs. Co. Ltd., 814 F.3d 1343, 1350 (Fed. Cir. 2016). Third, a party that holds "less than all

                 4   substantial rights to the patent" and lacks exclusionary rights thereunder cannot sue or even

                 5   participate alongside the patent owner as a party to an infringement action. Morrow v.

                 6   Microsoft Corp., 499 F.3d 1332, 1339-41 (Fed. Cir. 2007) (citations omitted).

                 7           The instant motions concern only the first category since Lone Star claims to be an

                 8   "assignee" and "sole owner" of the patents-in-suit under its patent transfer agreement with

                 9   AMD. To create an assignment, a contract must transfer (1) the entire exclusive patent right,

                10   including "all substantial rights in the patent"; (2) an undivided interest in the patent right; or
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         a      11   (3) the entire exclusive patent right within any geographical region of the United States. An

==:.:::         12   agreement that does not transfer one of these three interests is merely a license. Diamond
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                13   Coating Techs., LLC v. Hyundai Motor Am., 823 F.3d 615,618 (Fed. Cir. 2016). Whether an
-~ ,::i         14   agreement constitutes an assignment or license depends not on the "labels" or "bare formalities"
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                15   of title transfer but on the "substance of what was granted." Ibid.
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rij '€          16           The Federal Circuit has observed that the exclusive right to make, use, and sell products
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         (1)    17   or services under the patent is "vitally important" to assignment, and that the nature and scope
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        µ.      18   of the right to sue accused infringers and license the patent is the "most important factor" to

                19   consider. Id. at 619 (quoting Alfred E. Mann Found.for Scientific Research v. Cochlear Corp.,

                20   604 F.3d 1354, 1360-61 (Fed. Cir. 2010)).

                21           Other rights that should be examined include the scope of the licensee's right to

                22   sublicense, the licensor's reversionary rights following breach or termination of the license

                23   agreement, the licensor's right to proceeds from litigation or licensing activities, the duration of

                24   the licensee's rights, the licensor's ability to supervise and control the licensee's activities, the

                25   licensor's obligation to continue paying patent maintenance fees, and the nature of any limits on

                26   the licensee's right to assign its interests in the patent. See Mann, 604 F.3d at 1360--61.

                27           Both sides cite selective snippets of various favorable-sounding authorities in their

                28   briefs. Considering the Mann factors as a whole, however, the controlling decision with


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                                                            Add314
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                 1   underlying facts closest to ours is Diamond Coating. There, as here, the plaintiff claimed

                 2   standing to sue on the basis that it had received "all substantial rights" in the patents-in-suit

                 3   through a patent assignment and transfer agreement. See 823 F.3d at 618. The district court

                 4   disagreed, holding that the actual terms of the agreement weighed against finding a transfer of

                 5   substantial rights because ( 1) the plaintiff could not assign the agreement to another party

                 6   without the transferor's consent; (2) the transferor retained an economic interest in future

                 7   proceeds, including from infringement litigation; (3) the transferor retained a license to practice

                 8   the patents-in-suit; and (4) the transferor retained significant control over enforcement decisions

                 9   because the agreement conditioned enforcement on consideration of both the transferor and the

                10   plaintiff's "best interests." On appeal, the plaintiff argued, as Lone Star does here, that it had
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         a      11   the sole right to exclude others, had the sole right to sue, could assign or sell the patents-in-suit,

==:.:::         12   and could enforce the patents-in-suit free from the transferor's control. Id. at 619.
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                13           The Federal Circuit affirmed based on two aspects of the agreement. First, a "licensor's
-~ ,::i         14   retention of a limited right to develop and market the patented invention indicates that the
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                15   licensee failed to acquire all substantial rights," and the agreement allowed the transferor to
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rij '€          16   keep '"a world-wide, royalty-free, non-exclusive, non-sublicensable, non-transferable right and
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         (1)    17   license to practice the methods and to make, have made, use, distribute, lease, sell, offer for
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        µ.      18   sale, import, export, develop and otherwise dispose of and exploit any' products covered by the

                19   patents-in-suit." Indeed, the agreement did not even grant the plaintiff practicing rights but

                20   limited it to the "prosecution, maintenance, licensing, litigation, enforcement and exploitation"

                21   of the patents-in-suit and explained that it would "engage in no other business or activity." The

                22   Federal Circuit specifically rejected the argument that the plaintiff's right to "exploitation"

                23   implied the right to make, use, and sell the patented invention. The Federal Circuit noted that

                24   the agreement explicitly provided such rights to the transferor, so if the parties to the agreement

                25   had intended to also provide such rights to the plaintiff, "they knew how to say so." Thus, with

                26   respect to the "vitally important" exclusive right to make, use, and sell products or services

                27   under the patent, the plaintiff "unquestionably failed to acquire all substantial rights in the

                28   patents-in-suit." Id. at 619-20 (citation and internal modifications omitted).


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                                                            Add315
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                 1             Second, the transferor in Diamond Coating "retained significant control over [the

                 2    plaintiffs] enforcement and litigation activities" because the agreement (1) conditioned such

                 3    activities on consideration of the transferor's "best interests," (2) prohibited the plaintiff from

                 4    licensing the patents-in-suit jointly with patents owned by other parties absent the transferor's

                 5    written consent, and (3) included a list of companies that the plaintiff reserved the right to not

                 6    assert the patents-in-suit against, and another list of companies that the transferor reasonably

                 7    believed represented "licensing opportunities," thereby indicating that the plaintiff did not enjoy

                 8    "unfettered discretion on enforcement." Id. at 620-21. Although Diamond Coating styled its

                 9    analysis of these terms as bearing on "the nature and scope of the patentee's retained right to

                10    sue accused infringers and license the patent," see id. at 619, it seemed to also implicate other
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         a      11    Mann factors, including the scope of the plaintiffs right to sublicense, the transferor's ability to

==:.:::         12    supervise and control the plaintiffs activities, and limits on the plaintiffs right to assign its
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                13    interests in the patents-in-suit. See Mann, 604 F.3d at 1360-61.
-~ ,::i         14             After analyzing the two foregoing issues, Diamond Coating concluded the agreement
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                15    therein "did not convey all of the substantial rights in the patents-in-suit" to the plaintiff. The
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rij '€          16    same result obtains here given our similar facts.
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         (1)    17             First, as stated, the patent transfer agreement did not grant Lone Star any practicing
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        µ.      18    rights. Lone Star insists it had such rights by implication through Section 2.1, which provided it

                19    with "all right, title and interest in, to and under the Assigned Patents ... including any and all

                20    inventions and discoveries claimed therein, any and all legal rights entitled by the original

                21    owner of the Assigned Patents and all rights of AMD to sue for past, present and future

                22    infringement of any and all of the Assigned Patents." Lone Star's reliance on this provision is

                23    misplaced given that other provisions in the same agreement plainly curtailed Lone Star's

                24    rights thereunder notwithstanding the superficially-broad language ofSection 2.1. 2

                25

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                27             2 Defendants also point out that the purported "assignment" in Diamond Coating also contained superficially-

                     broad language granting the plaintiff"all right, title, and interest" in the patents-in-suit, but that language did not suffice
                28   to establish standing by assignment. This argument enjoys some force but is not relied upon in this order because the
                     Diamond Coating decision did not specifically examine the language cited by defendants in its analysis.

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                                                                      Add316
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                 1           Lone Star also argues that, as a practical matter, it "obviously" acquired the unfettered

                 2   right to practice the patents-in-suit because only it can enforce them. This argument is just

                 3   another attempt to conjure up practicing rights by implication and remains unpersuasive for the

                 4   reasons already stated. The suggestion that, as a practical matter, no one can stop Lone Star

                 5   from practicing the patents-in-suit also rings particularly hollow given that Lone Star is a non-

                 6   practicing entity. Moreover, the plaintiff in Diamond Coating similarly attempted to rely on its

                 7   "sole right to sue" to no effect. The same argument fails to distinguish Diamond Coating here.

                 8           Even assuming for the sake of argument that Lone Star indeed has some right to practice

                 9   the patents-in-suit, any such right is certainly not exclusive. As stated, Section 4.1 preserved

                10   AMD's practicing rights and Section 2.3 preserved the "Existing Encumbrances," including
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         a      11   practicing rights, of other entities. Lone Star cites Azure Networks, LLC v. CSR PLC, 771 F.3d

==:.:::         12   1336 (Fed. Cir. 2014), vacated on other grounds, 135 S. Ct. 1846 (2015), and Luminara, 814
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                13   F.3d 1343, for the proposition that AMD's retention of a non-exclusive license to practice the
-~ ,::i         14   patented inventions does not prevent assignment of the patents-in-suit. Both decisions are
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                15   readily distinguishable.
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rij '€          16           In Azure Networks, the principle relied upon in Diamond Coating- that a "licensor's
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         (1)    17   retention of a limited right to develop and market the patented invention indicates that the
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        µ.      18   licensee failed to acquire all substantial rights" -   enjoyed "little force" because the licensor did

                19   not make or sell any products, nor would it make or sell any products in the future. See 771

                20   F.3d at 1344. Here, in contrast, AMD actually practices the patents-in-suit and has expressly

                21   preserved the "Existing Encumbrances" of other entities ostensibly practicing the patents-in-

                22   suit. Under our circumstances, Diamond Coating remains the better authority.

                23           Luminara considered a limited set of rights retained by the licensor - the right to

                24   practice the patents at issue, the title to those patents, the responsibility to pay maintenance fees,

                25   a financial interest in litigation and licensing, and a right to notice of litigation and licensing

                26   activities -   and concluded they were not substantial enough to preclude assignment. See 814

                27   F.3d at 1351. Luminara did not have occasion to weigh other factors present in our case,

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                 1    including the patent transfer agreement's preservation of "Existing Encumbrances" and other

                 2    constraints on Lone Star's litigation and licensing activities, discussed further below.

                 3             Second, like the transferor in Diamond Coating, AMD retained significant control over

                 4    Lone Star's activities. In addition to the "Existing Encumbrances" preserved by Section 2.3 of

                 5    the patent transfer agreement, Section 2.6 conditioned any transfer of the "Assigned Patents" on

                 6    bundling of said patents, the successor-in-interest's agreement to be bound by the patent

                 7    transfer agreement, and AMD's written consent. Section 2.6 did specify that AMD could not

                 8    "unreasonably" withhold its consent but did not further explain what "unreasonable" meant.

                 9    Sections 6.2(f) and 3.3(c) also limited all of Lone Star's enforcement capabilities to specific

                10    targets listed in Exhibit E and conditioned any expansion of that list on AMD's agreement, with
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         a      11    AMD could grant or deny in its "sole discretion." These terms are not identical to but, taken as

==:.:::         12    a whole, are at least as restrictive as those examined in Diamond Coating.
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                13             Lone Star cites three decisions for the proposition that Section 2.6 does not defeat the
-~ ,::i         14    purported "assignment" here. None of those decisions, however, examined restrictions like
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                15    those set by Section 2.6, let alone a whole body of terms comparable to the patent transfer
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rij '€          16    agreement here. See Rude v. Westcott, 130 U.S. 152, 163 (1889) ("absolute transfer of title"
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         (1)    17    reserved "no control over the patents or their use or disposal, or any power to interfere with the
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        µ.      18    management of the business growing out of their ownership"); Speedplay, Inc. v. Bebop, Inc.,

                19    211 F.3d 1245, 1251-52 (Fed. Cir. 2000) (consent requirement to transfer did not significantly

                20    curtail rights of licensee free from existing encumbrances, prior practice rights, and restrictions

                21    on enforcement); Vaupel Textilmaschinen KG v. Meccanica Euro Italia SPA, 944 F.2d 870,

                22    874-75 (Fed. Cir. 1991) (grant of exclusive practice and enforcement rights constituted

                23    assignment despite retention of a veto right on sublicensing, the right to obtain foreign patents

                24    on the invention, termination provisions "consistent with an assignment," and a right to receive

                25    infringement damages). Again, Diamond Coating remains the better authority on our facts.3

                26

                27
                              3 The issues examined in Diamond Coating suffice to decide the standing issue here, but it merits mention that
                28   AMD's right to 35-50 percent of Lone Star's "monetization efforts" - a factor not discussed in Diamond Coating-
                     further belies the notion that Lone Star received "all substantial rights" in the patents. See Mann, 604 F .3d at 1360--61.

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                 1           Lone Star further contends Section 6.2(£) is immaterial here because, even if Lone Star

                 2   lacks standing to sue on the patents-in-suit in general, it still has standing to sue the specific

                 3   defendants herein since they are all listed as targets on Exhibit E to the patent transfer

                 4   agreement. This argument ignores that, even as to the specific targets listed on Exhibit E, Lone

                 5   Star's enforcement and licensing capabilities remain subject to the "Existing Encumbrances"

                 6   and restrictions on alienation set forth in Sections 2.3 and 2.6, respectively. Even assuming for

                 7   the sake of argument that, as Lone Star urges, standing should be determined on a defendant-by-

                 8   defendant basis, that general proposition would not suffice to create standing for Lone Star here.

                 9           In support of its position, Lone Star also cites WiA V Solutions LLC v. Motorola, Inc.,

                10   631 F.3d 1257, 126fr67 (Fed. Cir. 2010), for the proposition that, "[d]epending on the scope of
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         a      11   its exclusionary rights, an exclusive licensee may have standing to sue some parties and not

==:.:::         12   others. . . . [I]f an exclusive licensee has the right to exclude others from practicing a patent,
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                13   and a party accused of infringement does not possess, and is incapable of obtaining, a license of
-~ ,::i         14   those rights from any other party, the exclusive licensee's exclusionary right is violated." But
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                15   WiAV examined the standing of exclusive licensees to sue based on their exclusionary rights,
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rij '€          16   not the standing of assignees to sue based on receipt of all substantial rights in the patents-in-
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         (1)    17   suit. The question here is not merely whether or not Lone Star received exclusionary rights but
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        µ.      18   whether or not Lone Star received all substantial rights in the patents-in-suit. To repeat, Lone

                19   Star's complaints alleged only that it is an "assignee" and "sole owner" of the patents-in-suit. It

                20   cannot simply retreat to the position of an "exclusive licensee" to evade arguments that it did

                21   not actually receive "all substantial rights" in the patents-in-suit.

                22           In a similar vein, Lone Star requests in the alternative that, if it is not an "assignee" and

                23   "sole owner" of the patents-in-suit, it be granted leave to join AMD as a party. Defendants

                24   counter-propose that these actions be dismissed without prejudice so that Lone Star can re-file if

                25   it can allege sufficient facts to state a claim as an exclusive licensee and secure AMD as a co-

                26   plaintiff Defendants point out that Lone Star's delay in producing the crucial patent transfer

                27   agreement already prejudiced defendants' ability to litigate effectively because, without AMD,

                28   defendants had to move to transfer these actions to our district from the Eastern District of




                                                            Add319
                       Case: 23-2007         Document: 16       Page: 108      Filed: 07/14/2023



              1   Texas. Additionally, defendants have not been able to leverage their own patent portfolios to

              2   resolve this dispute because Lone Star, unlike AMD, is a non-practicing entity immune from the

              3   threat of counterclaims. Moreover, if AMD simply joins at this stage, Lone Star and AMD

              4   would enjoy earlier filing dates for their claims than defendants would for any counterclaims for

              5   purposes ofrecovering damages. See 35 U.S.C. § 286 ("Except as otherwise provided by law,

              6   no recovery shall be had for any infringement committed more than six years prior to the filing

              7   of the complaint or counterclaim for infringement in the action."). This would be a manifestly

              8   unfair outcome given that Lone Star itself prevented defendants from asserting counterclaims

              9   earlier by failing to timely produce the patent transfer agreement.

             10          This order agrees with defendants that allowing Lone Star to simply add AMD in at this
    .....
       (rj

      8      11   stage would reward Lone Star for its litigation gimmick and unfairly prejudice defendants.
l: c.S
 =:.::::     12   Accordingly, these actions are hereby dismissed. Lone Star will have the option to re-file its
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             14
                  claims as an "exclusive licensee" with AMD as a co-plaintiff, though this order in no way

                  decides the separate question of whether or not Lone Star could sustain such claims under the
r,:iQ
~            15   applicable law. To be clear, if Lone Star re-files, it will not be allowed to take advantage of the
 =8
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rJJ t::      16   earlier filing dates in the instant actions for purposes of recovering damages.
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       (1)   17                                            CONCLUSION
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       µ.    18          To the foregoing extent, defendants' motions to dismiss are GRANTED. The above-

             19   captioned actions are DISMISSED. The Clerk shall please CLOSE THE FILES.

             20

             21          IT IS SO ORDERED.

             22

             23   Dated: January 20, 2018.
                                                                            WILLI~UP
             24                                                             UNITED STATES DISTRICT JUDGE

             25

             26

             27

             28


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   Case:
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     1:22-cv-00273-DCN        16 15-27
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                   EXHIBIT 24




                             Add596
                         Case: 23-2007            Document: 16 15-27
                                                      Document  Page: 110    Filed: 07/14/2023
                                                                      Filed 07/21/22   Page 2 of 4




           Jason Wejnert
           312-637-3394
           jason.wejne1t@spencepc.com

                                                               August 22, 2018

           VIA COURIER AND EMAIL

           Joel L. Poppen
           Director of Litigation

           Micron Technology, Inc.
           P.O. Box 6
           Boise, ID 83707-0006

                   Re:      KATANA SILICON TECHNOLOGIES PATENT LICENSING

           Dear Mr. Poppen:

                   I write with respect to the Semiconductor Patent Licensing Program of our client, Katana
           Silicon Technologies LLC ("KST"). KST has a licensing service agreement with Longhorn IP
           LLC.


                   KST owns a portfolio of patents related to semiconductor designs and manufacturing
           technologies. KST's semiconductor patents have been asserted against major semiconductor
           companies in the world. Among the potential licensees are: Toshiba, TSMC, SK Hynix and NXP.
           We believe that products of MICRON TECHNOLOGY, INC. and its subsidiaries/affiliates
           ("Micron") infringe our client' s patented semiconductor technologies and are made using
           infringing fabrication methods, and thus require a license. In particular, we believe that Micron
           sells and offers to sell in the United States, and imports into the United States, integrated circuit
           devices that infringe one or more of the KST patents, including integrated circuit devices
           incorporated into products such as mobile broadband data devices, modems, smartphones, tablets,
           smartwatches, cameras, laptops, and automotive applications as well as several other consumer
           electronics products. We also believe that Micron induces other companies, such as distributors,
           resellers and end-users, to perform one or more of these acts in the United States. Infringing
           Micron products that are imported into, and sold and offered for sale in the United States, include
           but are not limited to integrated circuit devices packaged in a Chip Size Package structure and a
           manufacturing method that produces the same.



SpencePC      515 N. State St., Ste. 1801, Chicago, IL 60654     www.spe ncePc.co m   P 312 .637-3394   F 312 .635.2299
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                      Case:
                   Case     23-2007    Document:
                        1:22-cv-00273-DCN        16 15-27
                                           Document  Page: 111    Filed: 07/14/2023
                                                           Filed 07/21/22   Page 3 of 4

           Page 2 of 3
           Joel Poppen
           August 22, 2018

                            Specifically, the        following   exemplary Micron products        and   fabrication
           technologies infringe at least the KST patents identified below.
           Claims 1, 12, 23 and 30 of U.S. Patent No. RE38,806:

               •   All integrated circuit devices processed and packaged as shown, for example, in Micron
                   MT29F768G08EEHBBJ4 32L 3D and other devices with a semiconductor device
                   including a stacked package structure and a chip size package structure, with first and
                   second semiconductor chips mounted in a stacked configuration through adhesion layers
                   and wire-bonded to an electrode section of the package, and all sealed within a resin.

           Claims 1, 2 and 15 of U.S. Patent No. 6,352,879 Bl :

               •   All integrated circuit devices processed and packaged as shown, for example, in Micron
                   MT29F768G08EEHBBJ4 32L 3D and other devices with a semiconductor device
                   including a stacked package structure and a chip size package structure, with first and
                   second semiconductor chips mounted in a stacked configuration through adhesion layers
                   and wire-bonded to an electrode section of the package, and all sealed within a resin.


              Also, subject to receiving confirmation that the information will be treated as privileged
           settlement information under Fed.R.Evid. 408, we are willing to discuss these issues with Micron.
           We would be pleased to discuss with you the terms under which your company might obtain a
           license to the Semiconductor Patent Licensing Program and to answer any questions that you may
           have. We look forward to your prompt reply, so we can arrange a meeting with you or your
           representatives as soon as possible.



           Thank you in advance for your attention to this matter.


                                                                      Very truly yours,
                                                                      \.(,~~[)~
                                                                      ~PENCE   PC
                                                                      JASON WEJNERT



           Enclosures:
           U.S. Patent Nos. RE38,806; 6,352,879 Bl:




                                       Fed. Rule Evid. 408 Settlement Communication

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                                          Document  Page: 112    Filed: 07/14/2023
                                                          Filed 07/21/22   Page 4 of 4

           Page 3 of 3
           Joel Poppen
           August 22, 2018




           cc: William Cory Spence, Khaled Fekih-Romdhane, Chris Dubuc




                                      Fed. Rule Evid. 408 Settlement Communication

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   Case:
Case     23-2007    Document:
     1:22-cv-00273-DCN        16 15-30
                        Document  Page: 113    Filed: 07/14/2023
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                   EXHIBIT 27




                             Add651
                         Case: 23-2007            Document: 16 15-30
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 -,   ~    IP ANDCOMP LEXLITIGATION




           Jason Wejnert
           312-637-3394
           jason.wejnert@spencepc.com

                                                               September 18, 2018

           VIA COURIER AND EMAIL

           Joel L. Poppen
           Senior Vice President of Legal Affairs, General Counsel and Corporate Secretary

           Micron Technology, Inc.
           8000 S. Federal Way
           MS 1-557
           Boise, ID 83716

                   Re:       KATANA SILICON TECHNOLOGIES PATENT LICENSING

           Dear Mr. Poppen:

                   I follow up to write you again with respect to the Semiconductor Patent Licensing Program
           of our client, Katana Silicon Technologies LLC ("KST"). KST has a licensing service agreement
           with Longhorn IP LLC. Previously, KST sent you a notice letter on August 22, 2018 (enclosed).

                   KST owns a portfolio of patents related to semiconductor designs and manufacturing
           technologies. KST' s semiconductor patents have been asserted against major semiconductor
           companies in the world. Among the potential licensees are: Toshiba, TSMC, SK Hynix and NXP.
           We believe that products of MICRON TECHNOLOGY, INC. and its subsidiaries/affiliates
           ("Micron") infringe our client's patented semiconductor technologies and are made using
           infringing fabrication methods, and thus require a license. In particular, we believe that Micron
           sells and offers to sell in the United States, and imports into the United States, integrated circuit
           devices that infringe one or more of the KST patents, including integrated circuit devices
           incorporated into products such as mobile broadband data devices, modems, smartphones, tablets,
           cameras, laptops, and automotive applications as well as several other consumer electronics
           products. We also believe that Micron induces other companies, such as distributors, resellers and
           end-users, to perform one or more of these acts in the United States. Infringing Micron products
           that are imported into, and sold and offered for sale in the United States, include but are not limited




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                   Case     23-2007    Document:
                        1:22-cv-00273-DCN        16 15-30
                                           Document  Page: 115    Filed: 07/14/2023
                                                           Filed 07/21/22   Page 3 of 4

           Page 2 of 3
           Joel Poppen
           September 18, 2018

           to integrated circuit devices packaged in a Chip Size Package structure and a manufacturing
           method that produces the same.
                            Specifically, the following          exemplary Micron products      and fabrication
           technologies infringe at least the KST patents identified below.
           Claims 1 and 12 of U.S. Patent No. RE38,806:

               •   All integrated circuit devices processed and packaged as shown, for example, in Micron's
                   MT53D512M64D4NZ-053             WT_D       lx   nm     LPDDR4       SDRAM       Memory,
                   MT66R7072A10AB5ZZW 45 nm Phase Change Memory ACMOS and other devices with
                   a semiconductor device including a stacked package structure and a chip size package
                   structure, with first and second semiconductor chips mounted in a stacked configuration
                   through adhesion layers and wire-bonded to an electrode section of the package, and all
                   sealed within a resin.

           Claims 1, 2, 3, 4 and 5 of U.S. Patent No. 6,731,013 B2:

               •   All integrated circuit devices processed and packaged as shown, for example, in Micron
                   MT29F768G08EEHBBJ4 32L 3D NAND Flash Memory and other devices with a
                   semiconductor device including a stacked package structure and a chip size package
                   structure, with first and second semiconductor chips mounted in a stacked configuration
                   through adhesion layers and wire-bonded to an electrode section of the package, and all
                   sealed within a resin.


              Also, subject to receiving confirmation that the information will be treated as privileged
           settlement information under Fed.R.Evid. 408, we are willing to discuss these issues with Micron.
           We would be pleased to discuss with you the terms under which your company might obtain a
           license to the Semiconductor Patent Licensing Program and to answer any questions that you may
           have. We look forward to your prompt reply, so we can arrange a meeting with you or your
           representatives as soon as possible.



           Thank you in advance for your attention to this matter.


                                                                     Very truly yours,

                                                                        ~~
                                                                      SPENCE PC
                                                                     JASON WEINERT


                                       Fed. Rule Evid. 408 Settlement Communication

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                   Case     23-2007    Document:
                        1:22-cv-00273-DCN        16 15-30
                                           Document  Page: 116    Filed: 07/14/2023
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           Page 3 of 3
           Joel Poppen
           September 18, 2018



           Enclosures:
           U.S. Patent Nos. RE38,806; 6,731,013 B2; Notice Letter to Micron Technology dated August 22,
           2018:




           cc: William Cory Spence, Khaled Fekih-Romdhane, Chris Dubuc




                                       Fed. Rule Evid. 408 Settlement Communication

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     1:22-cv-00273-DCN        16 15-32
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                   EXHIBIT 29




                             Add691
            Case:
         Case     23-2007    Document:
              1:22-cv-00273-DCN        16 15-32
                                 Document  Page: 118    Filed: 07/14/2023
                                                 Filed 07/21/22   Page 2 of 4


From:              Jason Wejnert
To:                David Ashmore (dashmore) [ CONT-Type2-APS CONSULTING LLC ]; Dave Westergard (dwestergard)
Cc:                Khaled Fekih-Romdhane; William Cory Spence; Chris Dubuc
Subject:           FW: [EXT] Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18, 2018
Date:              Friday, October 19, 2018 2:53:51 PM
Attachments:       Katana - Micron Confidentiality Agreement - 09.28.2018.pdf


David,
Im following up on my previous email below to see what your availability is in the last week of
October or early November to discuss the Longhorn portfolios. I look forward to hearing from you.

Regards,

Jason Wejnert| SpencePC
Partner
515 N. State, Suite 1801, Chicago, IL 60654
Phone: 312-637-3394 Fax: 312-635-2299
Email: jason.wejnert@spencepc.com

PLEASE NOTE OUR CHANGE IN MAIUNGADDRESS, EFFECTIVE APRIL 2, 2018

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only for the use of the addressee. If you believe that you may have received this message in error, please delete
the message and notify SpencePC at info@spencepc.com.


From: Jason Wejnert
Sent: Thursday, October 4, 2018 7:49 AM
To: 'David Ashmore (dashmore)' <dashmore@micron.com>; Dave Westergard (dwestergard)
<dwestergard@micron.com>
Cc: Khaled Fekih-Romdhane <khaled@longhornip.com>; Chris Dubuc <chris@longhornip.com>;
William Cory Spence <william.spence@spencepc.com>
Subject: RE: [EXT] Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18,
2018

David,

Thanks for reaching out and including Dave Westergard on the email chain. Dave W., nice to meet
you electronically.

Do you think we can have a meeting the back half of October or early November to discuss the
Longhorn portfolios? I sent you an NDA previously, which if you sign, allows us to send you claim
charts to discuss. If you have questions or issues about the NDA (attached again), please feel free to
contact me.

Regards,

Jason Wejnert| SpencePC
Partner



                                                     Add692
            Case:
         Case     23-2007    Document:
              1:22-cv-00273-DCN        16 15-32
                                 Document  Page: 119    Filed: 07/14/2023
                                                 Filed 07/21/22   Page 3 of 4


515 N. State, Suite 1801, Chicago, IL 60654
Phone: 312-637-3394 Fax: 312-635-2299
Email: jason.wejnert@spencepc.com

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From: David Ashmore (dashmore) <dashmore@micron.com>
Sent: Monday, October 1, 2018 12:59 PM
To: Jason Wejnert <Jason.Wejnert@spencepc.com>; Dave Westergard (dwestergard)
<dwestergard@micron.com>
Cc: Khaled Fekih-Romdhane <khaled@longhornip.com>; Chris Dubuc <chris@longhornip.com>;
William Cory Spence <william.spence@spencepc.com>
Subject: RE: [EXT] Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18,
2018

Jason,

Im adding my colleague Dave Westergard, who is handling other Longhorn matters for Micron.

Regards,
David

From: Jason Wejnert [mailto:Jason.Wejnert@spencepc.com]
Sent: Friday, September 28, 2018 8:38 AM
To: Joel Poppen (jlpoppen) <jlpoppen@micron.com>
Cc: Khaled Fekih-Romdhane <khaled@longhornip.com>; Chris Dubuc <chris@longhornip.com>;
William Cory Spence <william.spence@spencepc.com>; David Ashmore (dashmore)
<dashmore@micron.com>
Subject: RE: [EXT] Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18,
2018

Joel, David,
Please find attached Confidentiality Agreement between Micron Technology and KST, to allow
exchange of information under FRE 408. Please let us know if this is agreeable, and we can send you
example claim charts and plan to meet to discuss.


Regards,

Jason Wejnert| SpencePC
Partner
515 N. State, Suite 1801, Chicago, IL 60654



                                                    Add693
           Case:
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Phone: 312-637-3394 Fax: 312-635-2299
Email: jason.wejnert@spencepc.com

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the message and notify SpencePC at info@spencepc.com.


From: Joel Poppen (jlpoppen) <jlpoppen@micron.com>
Sent: Tuesday, September 18, 2018 2:19 PM
To: Jason Wejnert <Jason.Wejnert@spencepc.com>
Cc: Khaled Fekih-Romdhane <khaled@longhornip.com>; Chris Dubuc <chris@longhornip.com>;
William Cory Spence <william.spence@spencepc.com>; David Ashmore (dashmore)
<dashmore@micron.com>
Subject: RE: [EXT] Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18,
2018

Mr. Wejnert,

Ive copied David Ashmore, Senior Director, Litigation and IP Transactions. He will follow up with you as
appropriate. Thanks. Joel


From: Jason Wejnert [mailto:Jason.Wejnert@spencepc.com]
Sent: Tuesday, September 18, 2018 8:33 AM
To: Joel Poppen (jlpoppen) <jlpoppen@micron.com>
Cc: Khaled Fekih-Romdhane <khaled@longhornip.com>; Chris Dubuc <chris@longhornip.com>;
William Cory Spence <william.spence@spencepc.com>
Subject: [EXT] Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18, 2018

Mr. Poppen,
Please see the attached correspondence regarding Katanas Semiconductor Patent Licensing
Program.

Regards,

Jason Wejnert| SpencePC
Partner
515 N. State, Suite 1801, Chicago, IL 60654
Phone: 312-637-3394 Fax: 312-635-2299
Email: jason.wejnert@spencepc.com

PLEASE NOTE OUR CHANGE IN MAIUNG ADDRESS, EFFECTIVE APRIL 2, 2018

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only for the use of the addressee. If you believe that you may have received this message in error, please delete
the message and notify SpencePC at info@spencepc.com.




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     1:22-cv-00273-DCN        16 15-33
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                   EXHIBIT 30




                             Add695
                    Case:
                 Case     23-2007    Document:
                      1:22-cv-00273-DCN        16 15-33
                                         Document  Page: 122    Filed: 07/14/2023
                                                         Filed 07/21/22   Page 2 of 5




From:                Dave Westergard (dwestergard) <dwestergard@micron.com>
Sent:                Monday, February 4, 2019 1:49 PM
To:                  William Cory Spence
Cc:                  Jan Bissey (jbissey); Jason Wejnert; Chris Dubuc; Khaled Fekih-Romdhane
Subject:             RE: [EXT] Re: Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18, 2018


Hi, Cory. In truth, I was losing hope of ever hearing from you again, given the pounding your patents (at least in Lone
Star) have been taking of late.       But glad to hear youre rid of crutches. You should take advantage of your newly
rekindled mobility to come see some of Idahos backcountry. It has no peer.

Moving on to the business at hand, thanks for your email of January 15, 2019, and for your offer of an early bird
special. After serious internal inquiry and assessment, we cant see the business justification for entering into a license
agreement with Katana/Longhorn IP at this time. Given the PTAB invalidity rulings for each of the Lone Star patents in
suit, we see the Lone Star component at zero. While we expect Lone Star to appeal, we see little likelihood the
Federal Circuit will reverse given the strong analytical underpinnings of PTABs rulings on each patent.

On the Katana patents, we come to the same conclusion; specifically that the patents presented in our November
meeting (US 6,731,013, US RE38,806, and US 6,352,879) and the patents identified in Khaleds follow up email (US
7,087,524 and US 7,910,437) are either invalid or not infringed.

In our November meeting, you asserted (seconded by Khaled), that Katana is not interested in asserting weak patents
against anyone. You invited Micron to provide evidence of weakness. Below is a brief glimpse of the patents, the prior
art, and non infringement information. In light of all of this, we dont see benefit in continuing license negotiations. Let
me know if you disagree.
Cheers.
dave.


US 6,731,013
    1. Priority date of June 28, 2000.
    2. Patent claims a semiconductor device wirebonded to a substrate that has a support pattern located
       underneath the wirebonding location on the substrate. The claims require that the support pattern
       corresponds to the wire bonding location.
    3. The claim chart that Katana presented shows a metal fill pattern located on the substrate of a FBGA packaged
       device that does not correspond to the location of the wirebond location as interpreted in light of the
       specification.
    4. The exemplary Micron product that Katana presented does not have a support pattern that corresponds to
       the wirebond location on the substrate.
    5. This technology (as construed by Katanas claim construction/claim charts) was known and used prior to the
       priority date of the patent. An example is an Intel product with an SRAM and NAND device part number
       28F1602C3. See TechInsights, Report #PKG 1342 (analysis conducted in 1999). Other companies used similar
       technology, notably Texas Instruments MicroStar tm BGA and Memory Flex tm, GE Chip on Flex tm and Amkor Flex
       BGA tm. Each of the foregoing used stacked wirebonded packaging technology prior to the priority date of the
       patent.
    6. Numerous US patents and non patent literature describe similar use of support patterns located beneath the
       wire bond location on the substrate. See, for example, U.S. Patent Nos. 5,519,936; 5,639,695; 6,172,419; and
       5,541,450.


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                                        Document  Page: 123    Filed: 07/14/2023
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US RE38,806 and US 6,352,879
   1. These patents are related back to US 6,100,594 and have a priority date of December 30, 1998.
   2. These patents claim a stacked multi chip package primarily using wirebonds to connect to the mounting
       substrate.
            a. Notable difference in the claims
                    i. US 6,100,594: all independent claims are method claims. Various face up and face down
                       embodiments are claimed. Claims 1 and 11 requires the stacked semiconductor chips come
                       from different wafers.
                   ii. US RE38,806: 6 device claims + 2 method claims. The device claims vary the methods and
                       orientation of the die used to form the stack. Method claims are similar to the 594 patent.
   3. This technology was known and used prior to the inventive date of the patent. An example is an Intel package
       with a stacked SRAM and NAND device part number 28F1602C3, ca 1998. A report is available from
       TechInsights, Report #PKG 1342, analysis conducted in 1999.
   4. The Multi Chip Module (MCM) consortium was working on stacking technology prior to the priority date of
       these patents. The MCM consortium produced a significant amount of non patent literature dating back to 1980
       regarding various methods of stacking multiple semiconductor chips into one package. Wirebond was the
       common method of attachment between the semiconductor devices and the substrate. Notably, a company
       called nChip published an article in 1994 describing Laminated Memory and used stacked Micron SRAM,
       MT2C2568, as a demonstration vehicle.
   5. Several US patents disclose and claim the same subject matter as (and pre date) the Katana patents, notably US
       5,495,398; US 5,527,740; US 5,322,207; and US 5,608,262.

US 7,087,524
    1. Priority date July 09, 2003.
    2. This patent has one independent method claim regarding a damascene copper layer that is that has a metal
       element doping layer on the surface of the copper layer.
    3. Micron products do not use a method of forming a metal element doping layer on top of our copper layers.

US 7,910,437
    1. Priority date Nov 19, 2009.
    2. This patent has one independent method claim regarding the formation of a recessed gate transistor using two
       trenches.
    3. Micron processes do not use a method of forming a recessed gate transistor using two stacked trenches.




From: William Cory Spence [mailto:william.spence@spencepc.com]
Sent: Tuesday, January 15, 2019 9:35 AM
To: Dave Westergard (dwestergard) <dwestergard@micron.com>
Cc: Jan Bissey (jbissey) <jbissey@micron.com>; Jason Wejnert <Jason.Wejnert@spencepc.com>; Chris Dubuc
<chris@longhornip.com>; Khaled Fekih Romdhane <khaled@longhornip.com>
Subject: Re: [EXT] Re: Katana Silicon Technologies Semiconductor Patent Licensing Program Sept. 18, 2018

Dave,

Happy New Year. I hope that 2019 is off to a great start for you. I am happy to report that I have finally been relieved
of my crutches. It is a very welcome development to be walking again.

I am also writing to express my thanks to you for hosting our meeting in November. It was humbling to learn that Micron
does not often host such meetings with potential licensors. We appreciate the apparent serious consideration given to
the Katana patent porfolio.

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                                                        Add697
                    Case:
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                                         Document  Page: 124    Filed: 07/14/2023
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Further, as Khaled mentioned, I left our meeting with an appreciation that Micron may be willing to negotiate a
comprehensive agreement to address the the entirety of the licensing opportunities that both law firms presented. I
believe that the negotiated financial terms with Fitch are well defined at this point. Please let me know if you are
available this week to further define potential financial terms for the Katana component of such a possible
comprehensive agreement.

I am confident we can jointly succeed here. And I look forward to hearing from you soon so that we can explore the
necessary and mutually rewarding terms that will provide ample justification for Micron to become oneof what we
anticipate will soon be manyvaluable licensees. Of course, early adopters, such as your self, are far for more likely to
receive more favorable terms. The timing may be a big benefit to you.

In the meantime, please let me know if your travels will bring you to Chicago (or whether we might cross paths in Korea
or Japan where I will once again be traveling from the 21st to the 27th).

Cory

William C. Spence | SpencePC
515 N. State, Suite 1801
Chicago, IL, 60654
P 312.404.8882 | C 312.882.4468
E william.spence@spencepc.com

The information contained in this communication is confidential, may be attorney client privileged, and is intended only
for the use of the addressee. If you believe that you may have received this message in error, please delete the message
and notify SpencePC at info@spencepc.com.


On Tue, Nov 20, 2018 at 2:17 AM 0600, "Khaled Fekih Romdhane" <khaled@longhornip.com> wrote:

 Hi Dave,

 Thanks a lot for meeting with us last week. It was a productive and fruitful conversation and we were delighted to meet
 you and Jan face to face. We look forward to your feedback this week as we discussed. In the meantime and since you
 mentioned that you turned the "machine" on and that there is eventually some interest in a global deal with LIP, it
 might be helpful to also look at some patents from the Carthage portfolio that are not licensed to Micron such
 as US7087524 and US7910437 among others. As I mentioned during the meeting, we are willing to be flexible and to
 work with you on a fair deal for both of us.

 Please let me know if you have any questions or concerns. Cory and Nick are also happy to help if there are any
 outstanding questions on your end. I look forward to any feedback from David Kaplan as well.

 Best Regards,
 Khaled



 On Wed, Nov 14, 2018 at 9:42 AM Dave Westergard (dwestergard) <dwestergard@micron.com> wrote:
  Copy that. Check into Building 17C (most cabbies know location on north side of campus with small, blue tent/looking
  things over the entryway). Security will advise us, and someone will come get you. We dont have access to more than
  one conference room so if you dont intend for your entire party to be in the room at the same time, some will need
  to wait downstairs.


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                                                          Filed 07/21/22   Page 5 of 5


 On Nov 14, 2018, at 8:37 AM, Khaled Fekih Romdhane <khaled@longhornip.com> wrote:

          Hi Dave,

          Due to some issues, we might be few minutes late. Please bare with us.

          Best,
          Khaled

          On Nov 1, 2018, at 7:07 PM, Dave Westergard (dwestergard) <dwestergard@micron.com> wrote:

                    Micron Technology, Inc.

                    8000 S. Federal Way

                    Boise, ID 83716




                    Bldg 17C

                    <mime attachment.ics>




Khaled Fekih Romdhane
Founder and Managing Member
Longhorn IP LLC
www.longhornip.com
https://www.linkedin.com/in/khaledfekih
Mobile | 469.268.2567




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                   EXHIBIT 31




                             Add700
 From : Khaled Fekih-Romdhane (mailto·khaled@longhornip.com)
                                                                                                                                                                                                                                                                                                                                      ()
 Sent : Tuesday, November 20, 201812:17 AM
 To : Da\le Westergard (dwestergard) <dwestergard@mic::ron com>
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 Cc: Jan Bissey Ubissey) <jblssey@micron.com >; Jason Wejnert <Jason.Wejnert@spencepc.com>; Willlam Cory Spence <willlam .spence@spencepc.com>; Chris Dubuc <chris@longhornip.com>                                                                                                                                                    ('I)
 Subject : Re: [EXll Re: Katana Silicon Technologies Semiconductor Patent Licensing Program- Sept. 18, 2018
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 HI Dave1                                                                                                                                                                                                                                                                                                                             N
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 Thanks a lot for meeting with us last week. It was a productive and fruitful con\lersation and we were delighted to meet you and Jan face-to-face, We look forward to your feedback this week as we discussed. In the meantime and since you mentioned that you turned the "machine"' on and that there is e\lentuaUy some intere-tt")l a
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 Please let me know If you have any questions or concerns. Cory and Nick are also happy to help if there are any outstanding questions on your end. I look forward to any feedback from David Kaplan as well.                                                                                                                         0
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 Best Regards,                                                                                                                                                                                                                                                                                                                        --.J
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 On Wed 1 Nov 141 2018 at 9 :42 AM Dave Westergard (dwestergard) <dwestergard@micron.com> wrote:                                                                                                                                                                                                                                      z
   Copy that. Check into Bu ilding 17C (most cabbles know location on north side of campus with small, blue tent/looking things over the entryway), Security will advise us, and someone w ill come get you. We don't have access to more than one conference room so if you don't intend for your entire party to be ln the room at the
   same time 1 some will need to wait downstairs.                                                                                                                                                                                                                                                                                     0
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   On Nov 14, 2018, at 8:37 AMI Khaled Fekih-Romdhane <kbaled@lomzhornip.com> wrote :                                                                                                                                                                                                                                                 0
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Add701




             Hi Dave,                                                                                                                                                                                                                                                                                                                 3
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             Due to some issues, we might be few minutes late. Please bare with us.                                                                                                                                                                                                                                                   ::J
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             Best,                                                                                                                                                                                                                                                                                                                    .....




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             Khaled                                                                                                                                                                                                                                                                                                                   c.n I
                                                                                                                                                                                                                                                                                                                                      w
             On Nov 1, 2018, at 7:07 PM, Dave Westergard (dwesterg·ard ) <d wester1ud@micr9n.com> wrote :                                                                                                                                                                                                                             .i:::,.

                      Micron Technology, Inc.
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                      8000 S. Federal Way                                                                                                                                                                                                                                                                                             ('I)
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 Khaled Fekih-Romdhane
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 Founder and Managing Member
 Longhorn IP LLC
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                   EXHIBIT 32




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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  KATANA SILICON TECHNOLOGIES                        §
  LLC,                                               §
                                                     §
          Plaintiff,                                 §
                                                     § Case No. 1:22-cv-00214-LY
  V.                                                 §
                                                     § JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC.;                           §
  MICRON SEMICONDUCTOR                               §
  PRODUCTS, INC.; and MICRON                         §
                                                     §
  TECHNOLOGY TEXAS,                                  §
  LLC,                                               §
                                                     §
          Defendants.                                §

                        KA TANA'S RESPONSE IN NON-OPPOSITION
                          TO MICRON'S MOTION TO TRANSFER

       PlaintiffKatana Silicon Technologies LLC ("Katana") responds to the motion (Dkt. 14) of

all three Defendants ("Micron") under 28 U.S.C. § 1404(a) to transfer to the District ofldaho.

       In recent patent lawsuits involving unrelated plaintiffs, Micron has requested transfer to

the Austin Division of the Western District of Texas, where it has a substantial presence. E.g.,

Case No. 1:22-cv-00136-L Y, Dkt. 43 (Micron stipulating "to the entry of an Order transferring the

above-captioned action to the United States District Court for the Western District of Texas, Austin

Division, for the convenience of the parties and witnesses and in the interest of justice"); Case No.

6:20-cv-00500-ADA, Dkt. 34 (Micron moving for intra-district transfer to the Austin Division).

Yet in this case, where Plaintiff Katana is in Texas, Micron moves to transfer out of the Austin

Division to the District of Idaho.

       Even so, to conserve party and judicial resources, and based on Micron's representations

in its motion and accompanying evidence (which Katana reserves the right to challenge as

appropriate in other contexts), Katana has determined it is not opposed to the Micron motion's



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requested relief in this particular case. Katana' s non-opposition to Micron's requested relief should

not be interpreted as any form of agreement to Micron's allegations, including those concerning

Katana or affiliated companies.



Dated: July 6, 2022                                   Respectfully submitted,

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                                                      Facsimile No. (214) 550-8185

                                                      ATTORNEYS FOR PLAINTIFF
                                                      KA TANA SILICON TECHNOLOGIES
                                                      LLC




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Attorneys for Longhorn IP LLC

                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


 MICRON TECHNOLOGY, INC.;                       CASE NO. 1:22-cv-00273-DCN
 MICRON SEMICONDUCTOR PRODUCTS,
 INC.; and MICRON TECHNOLOGY
 TEXAS, LLC,                                    LONGHORN IP LLC'S RESPONSE
                                                TO PLAINTIFFS' MOTION FOR
        Plaintiffs,                             BOND PURSUANT TO IDAHO
                                                CODE § 48-1707 [DKT. 3, 15]
 V.

 LONGHORN IP LLC                                ORAL ARGUMENT REQUESTED

        Defendant.




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                                    I.      INTRODUCTION
       Longhorn IP LLC ("Longhorn") assisted its client Katana Silicon Technologies LLC

("Katana") to identify infringement of patents that Katana acquired from Sharp in 2018. Longhorn

helped to prepare and present seven infringement charts (presentation slide decks) to Micron in

November of that same year, illustrating and explaining Micron's infringement of three of these

patents. The charts, which were given to and presented in-person to Micron, provided illustrations

of Micron's infringement utilizing forensic electron-microscope images of the accused Micron

product, which images Longhorn had obtained at a cost of tens of thousands of dollars from the

leading company specializing in such imaging. When Micron offered its standard non-

infringement and invalidity arguments, Longhorn and Katana rebutted Micron's arguments in,

among other things, two additional slide decks delivered to Micron's Senior Director of Licensing

& Litigation, Dave Westergard, in February 2019.

       Micron and Mr. Westergard never negotiated m good faith to resolve the asserted

infringement ofKatana's patents. Instead, they repeatedly referred to interim victories Micron had

won in unrelated patent litigation against Lone Star, a different client and affiliate of Longhorn, in

totally unrelated patent litigation. Little has changed in Micron's strategy of misdirection. Almost

four years after Longhorn and Katana first made the infringement assertion, Micron now claims

that the assertion violated an Idaho statute (a statute with a three-year limitations period built in)

proscribing bad-faith patent assertions. And its leading arguments to show "bad faith" rely on (a)

a misleading account of the unrelated Lone Star litigation (featuring a district court ruling that was

criticized and vacated on appeal), (b) omitting all nine of the detailed infringement slide decks

noted above, (c) stressing a clerical error in one isolated phrase in Katana's Complaint, and (d)

offering tenuous non-infringement positions.

       Micron's claim against Longhorn in this case is a transparent attempt by a multi-billion-

dollar company to intimidate. This Court observed earlier this week, "Presumably, Micron's claim

is based on the idea that Longhorn would be scared off from this case (and the related Katana case)

if Longhorn was required to post a significant bond. This may be so ...." Dkt. 32 at 4. Indeed,



                                                  1

                                             Add755
           Case: 23-2007    Document: 16   Page: 137    Filed: 07/14/2023




                           CERTIFICATE OF COMPLIANCE

      1.     This motion complies with the type–volume limitation of Federal Rule

of Appellate Procedure 27(d)(2). The brief contains 5,200 words, excluding the por-

tions exempted by Federal Rule of Appellate Procedure 32(f) and Federal Circuit

Rule 32(b)(2).

      2.     This motion complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6). The document was prepared in a proportionally

spaced typeface using Microsoft® Word and 14-point Times New Roman type.


Dated: July 14, 2023                        /s/Amanda Tessar
                                            Amanda Tessar
          Case: 23-2007     Document: 16    Page: 138    Filed: 07/14/2023




                           CERTIFICATE OF AUTHORITY


      I certify that I have the authority of my co-counsel Amanda Tessar to file this

document with her electronic signature.

      I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.




Dated: July 14, 2023                         /s/Andrew T. Dufresne
                                             Andrew T. Dufresne
